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                     EXHIBIT 1
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Amended by Order of The Honourable Mr Justice Teare dated 6 March 2019 (as varied by Order of
The Honourable Mrs Justice Cockerill dated 20 May 2019)
Re-Amended by Order of The Honourable Mr Justice Andrew Baker dated 18 January 2020

               Claim Nos.: CL-2018-000297; CL-2018-000404; CL-2018-000590; CL-2019-000487
IN THE HIGH COURT OF JUSTICE
BUSINESS AND PROPERTY COURTS OF ENGLAND AND WALES
QUEEN’S BENCH DIVISION
COMMERCIAL COURT
B E T W E E N:
                            SKATSKATTEFORVALTNINGEN
                      (The Danish Customs and Tax Administration)
                                                                                 Claimant
                                         - and -

                          ED&F MAN CAPITAL MARKETS LIMITED & OTHERS
                                                                                                    Defendants




                                             RE-AMENDED DEFENCE

                   [References to paragraph numbers and defined terms in this Re-Amended
                   Defence (“Re-ADef”) are (save where otherwise indicated) to paragraph
                   numbers and defined terms in the Re- Re-Amended Particulars of Claim (“the
                   RRAPOC”) and Re-Amended Schedule 5T (“5T”)]

          OVERVIEW

1.        This is the Re-Amended Defence of the 69th Defendant, ED&F Man Capital Markets Limited
          (“ED&F Man”), to the First Claim (issued on 4 May 2018), as now consolidated with the Second
          and Third Claims (together, the “Consolidated Claims”), by which the Claimant (“SKAT”) alleges
          that:

          1.1.     it was the victim of a sophisticated and extensive financial fraud which resulted in SKAT
                   mistakenly paying out approximately £1.512 £1,455,611,5101 billion between August 2012
                   and July 2015 in respect of 4,590 WHT A 4,170 applications identified in RRAPOC
                   Schedule 1A and defined in RRAPOC/3(b) as “the WHT Applications” for the refund of
                   withholding tax (“WHT”) payable in relation to shares held in Danish companies (the
                   “WHT Applications”); and in particular that


1
    At the exchange rate of 1DKK: £0.120390 on 11 June 2020 (XE Currency Converter).
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        1.2.     the WHT Applications were made pursuant to a fraudulent scheme (the so-called WHT
                 Scheme described at RRAPOC/49-51) perpetrated by Mr Sanjay Shah and a network of 75
                 further individual and corporate defendants related to him (the Alleged Fraud Defendants);
                 and

        1.3.     SKAT mistakenly paid out approximately a further £70,166,8332 between 24 September
                 2012 and 29 April 2015 in respect of 420 applications identified in RRAPOC Schedule 1B
                 for the refund of WHT allegedly containing a document described as a “Tax Voucher” (the
                 “Tax Voucher”) prepared by ED&F Man (defined in RRAPOC/3(b) as the “ED&F Man
                 Applications”) (the “ED&F Man Applications”)3.


2.      However and for the avoidance of doubt:
        2.1.     ED&F Man is not an Alleged Fraud Defendant and has no knowledge of: (1) the WHT
                 Scheme to which it was not (and is not alleged to have been) a party; or (2) the Alleged
                 Fraud Defendants who it is said were behind it;


        2.1A. SKAT’s claims against ED&F Man (now substantially recast in 5T) are predicated on a
                 separate group of WHT applications, namely the non-fraudulent ED&F Man Applications,
                 as distinct from the fraudulent WHT Applications (RRAPOC/3(b));


        2.2.     on the contrary, and as set out further below, ED&F Man’s role in connection with the
                 WHT ED&F Man Applications was limited to preparing for its clients which were US and
                 Canadian pension plans (the “PPs”) a single document described as a “Tax Voucher” (“the
                 Tax Vouchers”) the Tax Voucher, which SKAT alleges was included in each of the 420 of
                 the WHT ED&F Man Applications (the “Relevant WHT Applications”) on behalf of the
                 applicants (the PPs) identified therein (the “Relevant WHT ED&F Man Applicants”); and




2
  At the exchange rate of 1DKK: £0.120390 on 11 June 2020 (XE Currency Converter).
3
  In this Re-Amended Defence ED&F Man adopts the defined terms “ED&F Man Applications” (RRAPOC/3(b)) and “ED&F
Man Applicants” (RRAPOC/14A) to describe, respectively (1) the applications for withholding tax containing (among other
documents) a Tax Voucher prepared by ED&F Man and (2) the PPs on whose behalf such applications were made. However,
SKAT’s use of these defined terms (1) is misleading (in circumstances where ED&F Man played no part in the preparation,
assessment and submission of the relevant WHT applications); and (2) is only used to avoid a proliferation of different defined
terms (and strictly and only in order to denote WHT applications in respect of which ED&F Man Tax Vouchers were
submitted).
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        2.3.     as set out in RRAPOC Schedule 1B, SKAT’s claims against ED&F Man in respect of 20 of
                 the 420 ED&F Man Applications made on behalf of 2 PPs are no longer pursued because
                 SKAT has settled claims it brought in the United States against those PPs for the entire
                 amounts originally claimed by SKAT in relation to those 20 Applications (reducing the
                 value of SKAT’s claim against ED&F Man to DKK 572,607,396)4.


3.      Instead SKAT’s primary case is that ED&F Man is liable to SKAT in negligence (under English
        law) on the grounds, in short summary, that (POC/21-24, 91-94):

        3.1.     ED&F Man owed a duty of care to SKAT to take reasonable care to avoid causing SKAT
                 loss due to inaccuracies and false statements in the Tax Vouchers (5T/16);

        3.2.     in respect of each of the Relevant WHT ED&F Man Applications, the Tax Vouchers
                 contained express and implied representations (the so-called “Custodian Representations”
                 “ED&F Man Representations”) that (inter alia) a specific number of shares in the Danish
                 company identified therein “…were held for the named WHT Applicant…” (POC/21(a)) on
                 the day before the dividend ex-date (being the date on or after which a security is traded
                 without a previously declared dividend (“the Ex-Date”)) as follows:

                3.2.1. express representations that (1) the specified number of shares in the named Danish
                          company identified in the Tax Voucher were held by the PP on “the Reference
                          Date” (5T/10(a)); (2) a specific dividend had been received (a) for the account of the
                          named PP (5T/10(b)) (b) net of a specific amount of tax that had been withheld by
                          the named Danish company (5T/10(c)); and (3) ED&F Man did not have a
                          beneficial interest in the shares and was not reclaiming withholding tax (5T/10(d));
                          and


                3.2.2. implied representations that (1) the PP was the beneficial owner of the shares and
                          dividend (5T/11(a)-(b)); and (2) the Tax Voucher was an honest and accurate
                          statement of the facts set out in it (5T/11(c));



4
 See entries struck out in RRAPOC Schedule 1B in relation to (1) ST Advisory Services Retirement Plan Trust (rows 10, 168-
170, 201, 226-227, 267, 309 and 338); and (2) Uplands Consulting Retirement Plan Trust (rows 12, 175-177, 203, 265-266, 269,
311 and 340)
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     3.3.   in reliance on the Custodian ED&F Man Representations SKAT paid DKK582 million in
            respect of the Relevant WHT ED&F Man Applications (5T/15); however

     3.4.   the Custodian ED&F Man Representations were false principally because the Relevant
            WHT ED&F Man Applicants “…did not own the relevant shares in the Danish companies
            beneficially or at all…” prior to the Ex-Date (POC/23(a)) “did not hold and [were] not the
            beneficial owner of the specified shares and had not received any dividend as beneficial
            owner net of WHT” (5T/18(e)).

4.   These allegations are unsustainable. In particular and as further set out below and in ED&F Man’s
     defence to 5T (the “5T.Def”):


     4.1A. no representations to SKAT: the Tax Vouchers did not contain any representations by
            ED&F Man to SKAT where each Tax Voucher (1) was addressed by ED&F Man to its
            client (the PP) only; (2) was not submitted by ED&F Man to SKAT; and (3) was one of a
            number of documents submitted to SKAT (a) by a different entity (either the PP itself or on
            the PP’s behalf by a specialist tax reclaim agent) and (b) under cover of a Tax Relief Form
            in the completion of which ED&F Man had no involvement (5T.Def/11, 12 and 15);


     4.1B. no implied representation as to beneficial ownership: the Tax Vouchers did not contain an
            implied representation that the PP beneficially owned the shares and dividends described
            therein and no reasonable representee in the position of SKAT could in fact have understood
            the Tax Vouchers to contain such representation (5T.Def/12-15);


     4.1.   no duty of care: ED&F Man owed no duty of care to SKAT in circumstances where (1)
            there was not a sufficiently proximate relationship between ED&F Man and SKAT; (2)
            ED&F Man had no involvement in the Relevant WHT ED&F Man Applications; and (3)
            ED&F Man did not assume responsibility to SKAT for the contents of the Tax Vouchers
            which were prepared for ED&F Man’s client only (and were not submitted by ED&F Man
            to SKAT) (5T.Def/17-18);


     4.2.   no misstatements: with respect to the Tax Vouchers (with the exception of (1) the 9
            identified at Annex A hereto (“the Annex A Tax Vouchers”) and (2) the 80 identified at

                                                  4
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            Annex E hereto (“the Annex E Tax Vouchers”)), the Custodian Representations were any
            representations made thereby were accurate (as evidenced by the contemporaneous
            documentary records retained by ED&F Man in respect of the Relevant WHT ED&F Man
            Applications) (5T.Def/18.7, 19);

     4.3.   no breach: absent a duty of care (1) there was no breach of duty; and in any event (2) by
            reference to the same records (with the exception of (1) the Annex A Tax Vouchers; and (2)
            the Annex E Tax Vouchers) ED&F Man did exercise reasonable skill and care in the
            preparation of the Tax Vouchers (5T.Def/20);


     4.4.   no reasonable reliance: in any event it was not reasonable for SKAT to rely on the alleged
            Custodian ED&F Man Representations in circumstances where it was SKAT, as the tax
            authority in Denmark with overall responsibility for processing WHT applications
            (5T.Def/18.6, 22); yet further


     4.5.   contributory negligence: if (which is denied) SKAT has suffered loss and damages as a
            result of any representations made breach of duty by ED&F Man, such loss was caused or
            contributed to by its own negligence in circumstances where its systems and procedures for
            managing the review and assessment of WHT reclaim applications were manifestly
            deficient (see paragraphs 40-41 below and 5T.Def/27).

     PREAMBLE TO PARTICULARS OF CLAIM
5.   As to paragraph 1 (description and legal status of SKAT):
     5.1.   it is admitted that until 1 July 2018 (and therefore at the time the First Claim was issued on
            4 May 2018) SKAT was a function of the Danish Government and was charged with the
            assessment and collection of Danish taxes; however


     5.2.   it is not admitted pending expert evidence in relation to SKAT’s legal personality and
            standing (and SKAT is required to prove by reference to (inter alia) the matters set out in
            SKAT’s Further Particulars Regarding the Identity of the Claimant dated 13 March 2020)
            that it SKAT has a legal entitlement to bring this claim against ED&F Man (SKAT having
            been replaced by 7 new agencies on 1 July 2018); in any event



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        5.3.    it is denied (for the reasons set out below) that ED&F Man has committed any “civil
                wrongs” as alleged or at all.

6.      As to paragraph 2 (references in the Re-Re-Amended Particulars of Claim): (1) ED&F Man (the
        69th Defendant to the First Claim) is (see RRAPOC/2(c)) a “Non-Fraud Defendant”; and (2)
        SKAT’s claim against ED&F Man is supplemented by the facts and matters set out in 5T Amended
        Schedule 5T to the Amended Particulars of Claim, to which ED&F Man pleads in 5T/Def. the
        Schedule to this Re-Amended Defence. For the avoidance of doubt ED&F Man:

        6.1.    is a global financial brokerage business, authorised and regulated by the Financial Conduct
                Authority (“FCA”) to provide (among other services): (1) specialised securities lending and
                financing services; (2) clearing and settlement for equities and fixed-income securities; and
                (3) custodian services for on-exchange and over-the-counter transactions;

        6.2.    from 2012 and 2015, in relation to the trading of shares in companies listed on the Danish
                stock exchange (“Danish Listed Companies”), acted for 36 PPs pension plans (the “PPs”)5
                which were introduced to ED&F Man in the circumstances described in 5T.Def/4.2.

        A. SUMMARY
7.      As to paragraph 3 (SKAT’s summary of its case):

        7.1.    subparagraph 3 (a) (the potential refund of WHT) is admitted;

        7.2.    subparagraph 3 (b) (the WHT Applications) is not admitted (being outside ED&F Man’s
                knowledge);

        7.3.    subparagraphs 3 (c) to (i) (the WHT Representations, WHT Applications and fraudulent
                scheme on the part of the Alleged Fraud Defendants and the claims against them) are noted
                but not pleaded to (as they do not concern ED&F Man);

        7.4.    subparagraph 3(j) (negligent participation of Non-Fraud Defendants in WHT Scheme) does
                not apply to ED&F Man and is not therefore pleaded to (see paragraph 2.1A above); and the
                allegation against ED&F Man (as a Non-Fraud Defendant) of “…negligent participation in

5
  Comprising 33 United States pension plans and 3 Canadian pension plans identified in RRAPOC/Schedule 1 of which (1) 32
were direct clients of ED&F Man (see Annex B hereto); and (2) 4 were members of Gibraltarian partnerships, which were
themselves clients of ED&F Man (the “Gibraltarian Partnerships”) (see Annex C hereto).
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              the WHT Scheme and/or [its] receipt of the proceeds of the fraud…” is denied for the
              reasons summarised above and amplified below


      7.5.    subparagraph 3(k) (SKAT’s claim against ED&F Man) is noted: SKAT’s claim is denied
              for the reasons summarised above and amplified below and in 5T.


      B. DEFENDANTS
8.    Paragraph 4 (details of Defendants and alleged wrongdoing set out in Schedule 5) is noted.


9.    As to paragraph 5 (categorisation of Defendants) subparagraphs 5 (a) (c) and (d) – (e) are noted;
      and as to subparagraph 5 (b) (f):

      9.1.    ED&F Man is (1) (despite providing the custodian services set out at paragraph 6.1 above)
              no longer grouped with one of the 9 8 Defendants collectively described (at RRAPOC/5(b))
              as “Custodians”; and (2) one of just two Non-Fraud Defendants which provided custodian
              services (the other being Lindisfarne) amongst the “Custodians”; and (3) the only Non-
              Fraud Defendant in a group of its own;

      9.2.    as to SKAT’s allegation that the Custodians provided “…“credit advice” notes (or
              similar)…” (1) ED&F Man provided Tax Vouchers as set out below; and (2) pending
              disclosure of the “credit advice” notes allegedly provided by the other Custodians, it is not
              admitted that Tax Vouchers are “similar” to the same

      9.3.    the case against ED&F Man in 5T is denied in 5T.Def.

10.   The circumstances in which ED&F Man produced the Tax Vouchers were, in summary, as follows:

      10.1.   the PP’s Investment Manager: by means of a power of attorney (“the Power of Attorney”)
              the PP would: (1) appoint an investment manager (“the Investment Manager”); and (2)
              authorise the Investment Manager (inter alia) to take all actions required to conduct trading
              in equities and/or other financial instruments and to reclaim any deducted taxes in the name
              of and on behalf of the PP;

      10.2.   the Declaration Date: from time to time each of the Danish Listed Companies would make a
              “Declaration” (“the Declaration Date”) as to the gross dividend rate and payable currency
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        in relation to specified shares, which Declaration Date would be published by Bloomberg
        approximately one month prior to the reference date on which the holder of a
        dividend-bearing share has the right to receive a dividend (“the Reference Date”);

10.3.   the Dividend Window: the period between the Declaration Date and the Reference Date
        would give rise to a window (“the Dividend Window”) in which the PP could acquire the
        shares in respect of which the dividend was payable (“the Security”);


10.4.   the PP’s acquisition and sale of the Security:
        10.4.1.   on a date on or prior to the Reference Date (“the Trade Date”), ED&F Man
                  would (1) (upon instruction from the PP’s Investment Manager) purchase the
                  Security by means of an over-the-counter transaction; or (2) acquire the Security
                  pursuant to an industry standard stock lending arrangement known as the Global
                  Master Securities Lending Arrangement (“the GMSLA”); (32) on a principal to
                  principal basis, on sell the Security to the PP; and (43) enable the PP to enter into a
                  transaction to hedge the risk of adverse market movements in the value of the
                  Security (“the Hedge”); alternatively

        10.4.2.   on the Trade Date, the PP would recall the Security from ED&F Man by way of
                  redelivery of equivalent securities pursuant to ED&F Man’s obligation to replace
                  securities provided by the PP to ED&F Man as financial collateral the terms of a
                  GMSLA;

        10.4.3.   from the Trade Date (and pursuant to (1) a Custody Agreement (“the Custody
                  Agreement”) (utilising the client securities and cash accounts defined therein
                  (together “the Custody Account”)); and (2) a Security and Set Off Deed (“the
                  Security and Set Off Deed”), entered into between each of PP and ED&F Man at
                  the inception of their relationship), ED&F Man would (1) hold the Security as a
                  bare trustee on behalf of the PP in the Custody Account; and (2) hold a charge
                  over the Security and the Custody Account; accordingly

        10.4.4.   on the Reference Date, which would fall at least one day after the Trade Date,
                  ED&F Man would hold the Security as a bare trustee on behalf of the PP in the
                  Custody Account;
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              10.4.5.     on an agreed date after the Trade Date (“the Settlement Date”), ED&F Man
                          would (1) pay for the Security on behalf of the PP (and debit the PP’s Custody
                          Account in that sum); and on or shortly after the Settlement Date (21) on-sell or
                          loan the Security on behalf of the PP or (2) exercise its right to use and dispose of
                          the Security in discharge of the PP’s obligation to make payment (and credit the
                          PP’s Custody Account accordingly);

      10.5.   the dividend Pay Date: shortly after the Settlement Date (1) the Danish company would pay
              the dividend net of WHT in respect of the Security (“the Pay Date”); (2) ED&F Man would
              receive payment of the dividend into a general account held in the name of ED&F Man
              (and administered by its sub-custodian BNP Paribas) which recorded transactions relating to
              multiple clients (“the Omnibus Account”); and (3) ED&F Man would credit the relevant
              amount of the dividend net of WHT to the PP’s Custody Account;


      10.6.   the WHT reclaim: (1) shortly after the Settlement Date ED&F Man would produce a Tax
              Voucher and send the same to (a) the Investment Manager; or (b) the tax reclaim agent (on
              the instructions of the Investment Manager as set out in paragraph 17.1A below); (2) a tax
              reclaim agent would submit the Tax Relief Form to SKAT; and (3) upon acceptance of the
              application (typically a few weeks after the Settlement Date) (a) SKAT would credit the
              amount of the WHT to the reclaim agent; (b) the reclaim agent (after deducting its fees)
              would credit the Omnibus Account; and (c) ED&F Man would credit the PP’s Custody
              Account.

11.   As to the nature and content of the Tax Voucher produced by ED&F Man:
      11.1.   it contained information in 11 information categories as set out in the following format:
                        Information category        Information supplied
                1       Security Description        Name of Danish Listed Company
                2       ISIN                        Identification of International Securities Identification
                                                    Number
                3       SEDOL                       Identification of Stock Exchange Daily Official List number
                4       Ex Date                     Date supplied
                5       Record Date                 Date supplied
                6       Pay Date                    Date supplied
                7       Quantity                    Specification of number of Danish shares
                8       Gross Div Rate              Dividend rate applicable per share
                9       Amount Received             Amount received by way of dividend
                10      WHT Suffered                Amount withheld by way of withholding tax
                11      WHT %                       Percentage rate (27%) of withholding tax applied
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      11.2.   it confirmed (in the circumstances summarised at paragraph 10 above):
              11.2.1.   (in 380 of the 420 Tax Vouchers) that the PP “…was holding…” the security
                        (identified in entries 1, 2, 3 and 7) “…over the dividend date…”;


              11.2.2.   (in the 40 Tax Vouchers where ED&F Man’s direct client was a Gibraltarian
                        Partnership), that (1) the Gibraltarian Partnership “held” the security (identified in
                        entries 1, 2, 3 and 7) “over dividend date” for the PP; and (2) the PP was the
                        “beneficial owner” of the security (the “GP Tax Vouchers”);


      11.3.   it (1) stated that ED&F Man (a) had “no beneficial interest” in the security; and (b) “…will
              not be reclaiming…” the WHT; (2) stated that the dividend (identified in entry 9) was paid
              to (or received by) the PP (or Gibraltarian Partnership) net of the WHT (identified in entry
              10); and (3) was signed on behalf of ED&F Man by one or two authorised signatories.

      C. DIVIDEND WHT REGIME
12.   Paragraph 6 (description of withholding tax) is admitted.

13.   Paragraphs 7 and 8 (Danish tax law provisions) are not admitted: ED&F Man does not hold itself
      out as a tax adviser and (save for understanding that 27% of any dividend from Danish companies
      was payable to the Danish tax authority as withholding tax) had no knowledge at any material time
      of the provisions of Danish law relating to withholding tax.

14.   As to paragraph 9 (double taxation treaty provisions), at the time of preparing the Tax Vouchers (all
      of which related to shares held by PPs in Danish companies) ED&F Man was aware that:
      14.1.   there existed double taxation treaties between (1) Denmark and the United States; and (2)
              Denmark and Canada, the effect of each of which was that the PPs were not subject to any
              tax by the Danish tax authority on dividends received in respect of shareholdings held in
              Danish companies;

      14.2.   as a result, PPs could submit a claim to the Danish tax authority for a refund of the totality
              of all such withholding tax paid in respect of such dividends; however

      14.3.   save as set out above, ED&F Man does not plead to the existence and effect of the alleged
              double tax treaties between Denmark and (1) Malaysia, (2) the United Kingdom (except

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                insofar as relevant to SKAT’s pleaded loss (5T Def/22.4)) or (43) Luxembourg as set out at
                RRAPOC/9(b), (d) and (e).

15.   Paragraph 10 (the requirements of Tax Relief Form) is admitted. For the avoidance of doubt the Tax
      Relief Form makes clear that the key declaration as to beneficial ownership is made (1) in the Tax
      Relief Form itself (in the first prominent entry “Beneficial Owner”); and (2) by (or on behalf of) the
      person claiming the WHT refund (5T Def/12.3.3).

16.   Paragraphs 11 (signature of the Tax Relief Form) and 12 (payment of the WHT) are admitted.
      However and for the avoidance of doubt ED&F Man (1) did not sign any of; and (2) had no
      involvement in the completion of, the 420 Relevant WHT ED&F Man Applications.

      D. WHT APPLICATIONS
17.   Save that between approximately August 2012 and April 2015 ED&F Man prepared 420 Tax
      Vouchers (1) on behalf of 36 PPs; (2) which were generally submitted to the PPs’ Investment
      Managers, paragraphs 13 (time period of SKAT’s claim), and 14 (identity of WHT Applicants) and
      14A (identity of ED&F Man Applicants) are not admitted. However (and for the avoidance of
      doubt):

      17.1A. on the instructions of the Investment Manager, Acer Investment Group, LLC (“Acer”),
                ED&F Man (copying Acer) submitted directly to the tax reclaim agent, Goal, the 72 Tax
                Vouchers relating to the 8 PPs which were clients of Acer (the “Acer PPs”);

      17.1.     save for the Acer PPs, ED&F Man infers from Schedule 1B but does not know that the
                Investment Managers submitted the remaining 348 Tax Vouchers to tax reclaim agents as
                follows:
                  No Tax reclaim agent                                         No of Tax Vouchers
                  1     Acupay                                                 16
                  2     Global Equities                                        266
                  3     Globe Tax Securities Incorporated Limited (“GTS”)      4
                  4     Goal                                                   134 62
                  Total                                                        420 348

      17.2.     ED&F Man notes that (1) the definition of Agents in RRAPOC/5(a) does not include GTS;
                (2) SKAT makes no claim at all against (a) GTS; or (b) (under English or Danish law)
                against Global Equities (save in relation to 35 of the 266 Relevant WHT ED&F Man
                Applications submitted by Global Equities as set out in Amended Schedule 5P (paragraph
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              5) and Schedule 5P1) (SKAT and Global Equities having agreed to settle that claim in
              January 2020); accordingly (3) SKAT advances no claims in English or Danish law against
              the reclaim agents which (it is alleged) submitted 270 235 of the 420 (6456%) Relevant
              WHT ED&F Man Applications.


18.   As to paragraph 15 (extent of withholding tax claim relating to US, Canada and Malaysia), ED&F
      Man does not plead to the first sentence which does not relate to the ED&F Man Applications. As
      to the second sentence, it is admitted that the Tax Vouchers prepared by ED&F Man on behalf of
      the PPs which were its clients were in respect of all the tax withheld.

19.   Paragraph 16 (extent of withholding tax claim relating to United Kingdom and Luxembourg) does
      not relate to the ED&F Man Applications and is not admitted.

20.   As to paragraphs 17 and 17A (documentary content of each WHT Application and ED&F Man
      Application), the actual documents comprising each Relevant WHT ED&F Man Application are not
      admitted. Paragraph 15 above is repeated.

21.   As to paragraph 18 (identity of Danish companies), the Relevant WHT ED&F Man Applications
      were made in relation to shareholdings in 16 of the Danish Listed Companies.

      E. THE WHT REPRESENTATIONS
22.   In Sections E.1 and E.2 SKAT purports to set out: (1) the representations allegedly made by the
      Agents (the so-called “Agent Representations”) (RRAPOC/19-20) and the Custodians (the so-called
      “Custodian Representations”) (RRAPOC/21) by the WHT Applications (collectively, the so-called
      “WHT Representations”) (RRAPOC/22); and (2) the falsity of such representations (RRAPOC/23-
      24). However SKAT’s case against ED&F Man in this regard is obscurely pleaded and difficult to
      comprehend given that:

      22.1.   the Agent Representations (POC/19) and the Custodian Representations (POC/21) are
              materially different (the Agent Representations alleging that the WHT Applicant was “…the
              beneficial owner…” of the Danish shares and “…had beneficially received the dividend…”;
              whilst the Custodian Representations contain no allegation in relation to beneficial
              ownership and dividend receipt); yet



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      22.2.   for the purposes of the allegation of falsity, the representations are treated collectively and
              without differentiation as the “WHT Representations” (POC/22 and 23) relying on the same
              particulars of falsity (POC/23(a) - (d)); further

      22.3.   in the case of ED&F Man and the fourth Custodian Representation (to the effect that “…the
              Credit Advice Note was an honest and accurate statement of the facts set out therein…”)
              (POC/21(d)) SKAT’s case against ED&F Man (as clarified in its Response to Request for
              Further Information dated 31 May 2019 (“SKAT RFI Response”)) is that “…the Tax
              Vouchers were inaccurate (but not dishonest)…” (Response 2)); yet

      22.4.   the alleged grounds for inferring falsity (POC/ 24) are pleaded generically and without
              distinction between (1) the Agent Representations and the Custodian Representations; and
              (2) the (very different) positions of (a) ED&F Man and (b) the Alleged Fraud Defendants.

      E1. The Agent Representations and the Custodian Representations
23.   ED&F Man does not plead to paragraphs 19 and 20 (the Agent Representations), paragraph 21 (the
      Custodian Representations), paragraph 22 (definition of WHT Applications) or paragraphs 23-24
      (the falsity of the WHT Representations), in circumstances where 5T paragraph 92(f) now alleges a
      new case (1) that ED&F Man (as one of the Non-Fraud Custodians) only made the Custodian
      ED&F Man Representations (5T/12) and (2) as to the falsity of the ED&F Man Representations
      (5T/18). ED&F Man responds to SKAT’s new case in 5T.Def.

24.   As to paragraph 21 (the Custodian Representations (POC/21)):

      24.1.   the representations (if any) made by the Tax Vouchers fall to be construed in context and
              objectively according to their effect on a reasonable representee in the position and with the
              characteristics of the actual representee. Yet SKAT would (or should) have known the
              following matters:

              24.1.1.   ED&F Man: (1) provided custody services to its clients in relation to shares held in
                        companies domiciled across multiple jurisdictions and subject to numerous
                        different tax regimes; but (2) did not hold itself out as a tax adviser; and (3) was
                        not qualified to advise on (a) the legal or beneficial ownership of security held in a
                        Danish company under Danish law; or (b) the relevant double taxation treaty;

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              24.1.2. the Tax Voucher (1) was addressed by ED&F Man to its client only, and not to
                      SKAT; and (2) (save for the GP Tax Vouchers) did not address the question of the
                      PP’s beneficial ownership of the security; by contrast

              24.1.3. the Tax Relief Form, which was submitted by or on behalf of the PP (1) was
                      addressed to SKAT; and (2) did contain the PP’s declaration as to beneficial
                      ownership of the security; further


              24.1.4. the concept of beneficial ownership was at the material time (and remains) legally
                      uncertain in Danish law because: (1) historically Danish law did not distinguish
                      between legal and beneficial ownership (a common law concept unfamiliar to
                      Danish law); and (2) the Danish Supreme Court had not (and still has not)
                      determined the meaning of the concept; and


              24.1.5. as the tax authority in Denmark with overall responsibility for processing WHT
                      applications, SKAT was responsible for determining the beneficial ownership of
                      shares held in Danish companies (which included publishing non-binding opinions
                      in Danish on its website in relation to this issue);

      24.2.   in the premises, it is denied that the Tax Vouchers contained the Custodian Representations:

              24.2.1. the Relevant WHT Applications did not contain any representations by ED&F Man
                      to SKAT;


              24.2.2. such representations as the Relevant WHT Applications contained were made by
                      (1) the tax reclaim agents which submitted the Relevant WHT Applications; and/or
                      (2) the entity described as the “beneficial owner” on the Tax Relief Form, on
                      whose behalf the Relevant WHT Applications were submitted;

              24.2.3. the Tax Vouchers (1) did not contain any separate or freestanding representations
                      to SKAT; and (2) (save for the GP Tax Vouchers) did not contain any statement as
                      to the beneficial ownership of the securities described in the Tax Vouchers.

25.    Paragraph 22 (definition of WHT Representations) is noted: paragraph 22.2 above is repeated.

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      E2. Falsity of the WHT Representations
26.    Paragraph 23 (falsity of WHT Representations) is denied in circumstances where:

       26.1. (as noted above) the allegations of falsity applicable to ED&F Man (POC/23(a)-(c)) do not
              correspond to the Custodian Representations allegedly made by ED&F Man (POC/21(a)-
              (c));


       26.2. it is not alleged that ED&F Man made any representation as to the beneficial ownership of
              shares and beneficial receipt of dividends described in the Tax Vouchers; and for the
              avoidance of doubt (and save in relation to the GP Tax Vouchers) (1) ED&F Man did not;
              and (2) SKAT could not reasonably have believed that it did, make any such
              representations; in any event

       26.3. the Custodian Representations (if made, which is denied) were true in circumstances where
              (with the exception of the Annex A and Annex E Tax Vouchers) the ED&F Man Records
              (as defined at subparagraph 27.5 below) confirmed that:

              26.3.1. the PP (or the Gibraltarian Partnership on its behalf) was holding the security
                      (identified at entries 1, 2, 3 and 7) on the Reference Date;
              26.3.2. the PP (or the Gibraltarian Partnership on its behalf) had received the dividend
                      (identified at entry 9) on the security; and
              26.3.3. the dividend had been received by the PP (or by the Gibraltarian Partnership on its
                      behalf) net of WHT (identified at entry 10).

27. As to paragraph 24 (grounds for inferring falsity of WHT Representations):

       27.1. in circumstances where (1) ED&F Man is not an Alleged Fraud Defendant; (2) ED&F Man
              was not a party to and had no knowledge of the WHT Scheme; and (3) (so far as ED&F
              Man understands the same) these subparagraphs do not contain allegations against ED&F
              Man, ED&F Man does not plead to: subparagraphs 24(b)(ii)(B) (the 6 individuals involved
              in WHT Scheme); 24(d) (Agents’ payments to SCP); 24(e) and (f) (the BaFin Report);
              24(e1) (the Solo Model); 24(g) (same day Credit Advice Notes for same company); 24(h)
              (facts relating to WHT Scheme); 24 (i) (ii) (B) and (C) (“circular transactions” created by
              the Alleged Fraud Defendants); 24 (i) (iii) (A) to (F) (“sham transactions” manufactured by

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       the Alleged Fraud Defendants); 24(i)(iv)(A) (trading of same shares multiple times around
       Ex-Date); and 24(i)(iv)(B)(i) and (ii) (WHT Applicant not the “beneficial owner of the
       shares”);

27.2. subparagraph 24(a) (substantial increase in WHT refund applications from August 2012 to
       July 2015) is not admitted. In any event it is not admitted that there is any correlation
       between (1) the matters pleaded in subparagraphs 24 (a) (i) to (iv) (if true); and (2) the
       accuracy of the Tax Vouchers used in the Relevant WHT Applications;

27.3. subparagraph 24(b) (i) and (ii) (B) (PPs’ lack of assets) is denied. The allegation that the
       Relevant WHT Applicants “…did not have the assets necessary to make the very
       substantial investments…” misunderstands the nature of the financial brokerage services
       provided by ED&F Man (identified at subparagraph 6.1 above). In particular where a PP did
       lack assets ED&F Man extended short term credit to the PP in order to facilitated the
       acquisition of the Security as follows:

       27.3.1. secured and hedged from the Trade Date: from the moment of ED&F Man’s
                acquisition of the Security on the Trade Date on behalf of the PP (subparagraph
                11.4.1 10.4.1 above), ED&F Man (1) held a fixed charge over the Security and the
                PP’s Custody Account with ED&F Man; and (2) was protected against market
                movements in the value of the Security by the Hedge;

       27.3.2. reimbursed on or shortly after Settlement Date: following (1) ED&F Man’s
                payment (on the Settlement Date) for the Security and the debit of that amount to
                the PP’s Custody Account (2) the Security was (a) on sold in the market or (b)
                acquired by ED&F Man pursuant to its rights of use and disposal for a sum of
                money which was then credited to the PP’s Custody Account (and which
                substantially reversed the debit) (subparagraph 10.4.5 above);

       27.3.3. receipt of dividend: shortly thereafter ED&F Man (1) received funds into the
                Omnibus Account in respect of the relevant dividend net of WHT; and (2) credited
                that amount to the Custody Account (subparagraph 10.5 above);

       27.3.4. receipt of tax reclaim: within a further few weeks, and without fail, SKAT paid the
                WHT to the tax reclaim agent which sum was then also credited to the Custody
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                Account (subparagraph 10.6 above), resulting (with the addition of any payment
                pursuant to the Hedge) in an overall net credit to the Custody Account arising out
                of the acquisition of the Security;

       27.3.5. no requirement for substantial assets: it was in these circumstances that the PPs did
                not need to have (1) the assets necessary to make “very substantial investments”;
                and/or (2) the means to “afford” the purchase of the relevant security. Instead
                ED&F Man, fully secured and protected against market movements, was prepared
                to (and did) enable the PPs to acquire the Security (and, for the avoidance of doubt,
                no third party provided any funding or collateral);


27.4. subparagraph 24(c) (the PPs’ response to preliminary decisions) is not admitted. Without
       prejudice to that non-admission and with respect to the PPs who were ED&F Man’s clients,
       ED&F Man understands from documents filed in United States legal proceedings that (1) in
       April and May 2018 SKAT issued final determination letters to the PPs; and (2) each of
       those PPs has filed an administrative appeal of SKAT’s determination to the Tax Appeals
       Agency (Skatteankestyrelsen) or is in the process of doing so (and each of the Tax Appeals
       Agency expects the review process to take approximately 30 months);

27.5. subparagraphs 24(i)(i) and (ii) (A) (alleged “fictitious records of transactions” and “circular
       transactions”)) are, with respect to the Relevant WHT Applications, denied. On the contrary
       ED&F Man has genuine records in respect of each of the Relevant WHT Applications (“the
       ED&F Man Records”) including:
       27.5.1. the Declaration as published by Bloomberg in respect of the security;


       27.5.2. (1) the PP’s order (ordinarily by email instruction) for both (a) the security and (b)
                the Hedge; and (2) ED&F Man’s confirmation (again by email) of the same;


       27.5.3. a booking in ED&F Man’s trading software recording ED&F Man’s “Buy” of the
                Security and “Sell” or “Return” to the PP;


       27.5.4. a journal entry in ED&F Man’s trading software identifying the nature, date and
                amount of a dividend payment credited to the PP in respect of the Security;

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       27.5.5. entries in the PP’s Custody Account recording ED&F Man’s acquisition of the
               Security on the Trade Date;


       27.5.6. entries in the PP’s Custody Account recording: (1) the credit of the net dividend
               payment in respect of the Security; (2) the credit of the tax reclaim to the PP a few
               weeks later; in the premises


       27.5.7. the Relevant WHT Applications were (1) based on “genuine business records” (in
               the words of counsel for SKAT when making this concession in relation to the PP
               Tveter LLC Pension Plan Trust at the hearing on 26 June 2018) (2) in relation to
               “genuine transactions” (in the words of Jacobs J. as accepted by counsel for SKAT
               in the course of the same hearing); and (3) (with the exception of the Annex E Tax
               Vouchers) resulted in an “actual” transfer of shares and dividends;

27.6. subparagraph 24(i)(iv)(B)(iii) (WHT Applicant as “mere nominee”) is denied. In particular:

       27.6.1. the reference to the WHT Applicant not being “the beneficial owner” of the shares
               is (as an allegation of falsity against ED&F Man) misconceived: the Custodian
               Representations do not contain any statement in relation to the WHT Applicant’s
               beneficial ownership; in the premises

       27.6.2. the allegation that the Relevant WHT Applicant was a “mere nominee” of the
               shares is not understood: the relevant representation (if any) contained in the Tax
               Voucher in relation to the shares was that the PP “…was holding [the Security]
               over the dividend date…”;

       27.6.3. that representation was true: subparagraph 26.2 above is repeated.; further

       27.6.4. the matters set out in SKAT RFI Response/3 do not support SKAT’s case that the
               WHT Applicant was a “mere nominee” as regards the Security with no control as
               to its disposition: subparagraph 27.3 is repeated; and (for the avoidance of doubt)

       27.6.5. the WHT Applicant acquired (1) ownership of the Security; and (2) a right to
               receive any dividends thereon from the Trade Date, not the Settlement Date (as
               alleged in SKAT RFI Response/4.4 – 4.7).
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       E3. THE ED&F MAN REPRESENTATIONS
27A. As to paragraph 24A (alleged falsity of ED&F Man Representations), it is denied (1) that ED&F
      Man made the alleged ED&F Man Representations (5T.Def/11-15); and (2) (with the exception of
      the erroneous information in the Annex A and Annex E Tax Vouchers) that any representations
      made by the Tax Vouchers were inaccurate (5T.Def/19).


      F. PROCEEDS OF THE WHT APPLICATIONS
28.   As to paragraph 25 (SKAT’s payments in reliance on ED&F Man Representations to the Agents),
      ED&F Man does not plead to SKAT’s alleged payment of sums in reliance on the WHT
      Representations which it is no longer alleged were made by ED&F Man. It is not admitted that
      SKAT made any payments in reliance on the alleged ED&F Man Representations (if made, which
      is denied). it is not admitted that SKAT (1) made the payments “in reliance on the WHT
      Representations”; and (2) made the payments alleged to the Agents, and SKAT is put to strict proof
      of the same.


29.   ED&F Man does not plead to paragraphs 26 to 48 (payments by SKAT; transfers to SCP and the
      Alleged Fraud Defendants; and purchase of shares in Varengold and Dero) in circumstances where
      they do not contain any allegations against ED&F Man. For the avoidance of doubt (1) (with the
      exception of the ED&F Man Applications made by Global Equities (5T Def/9.2.2)) ED&F Man did
      not receive any payments directly from SKAT; and (2) subject only to the deduction of its fees, the
      amounts received into the accounts from the agents were credited in full to the relevant PP.

      G. THE WHT SCHEME
30.   As to paragraph 49 (the WHT Scheme), it is not admitted that the WHT Applications were made as
      part of the WHT Scheme in circumstances where ED&F Man (1) was not an Alleged Fraud
      Defendant; and (2) has no knowledge of the matters relied upon at subparagraphs 49 (a) to (d).

31.   ED&F Man does not plead to paragraphs 50 and 51 (the WHT Scheme and the role of the Alleged
      Fraud Defendants) which do not contain allegations against ED&F Man.

32.   As to paragraphs 52 to 54 (SKAT’s decisions and purported rescissions), ED&F Man does not
      plead to alleged mistakes on the part of SKAT induced by the WHT Applications. In respect of the
      ED&F Man Representations, it is denied that SKAT is entitled to rescind the transactions by which
      payments were made in respect of the Relevant WHT ED&F Man Applications in circumstances
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      where (as further addressed in paragraphs 42 and 43 below) (1) the alleged ED&F Man
      Representations (and in particular the alleged Beneficial Ownership Representation) were not made
      (5T.Def/11-15); (2) (with the exception of the erroneous information in the Annex A and Annex E
      Tax Vouchers) any representations made by the Tax Vouchers were accurate (5T.Def/19)
      paragraphs 24, 0 and 27 above are repeated; and (3) to the extent that such payments were
      ultimately received by ED&F Man (an innocent third party which (a) provided services to its
      clients (the PPs) in respect of the payments; and/or (b) changed its position in good faith and to its
      detriment in reliance on the payments without notice of SKAT’s (alleged) interest in the payments),
      rescission is not available.

      H. APPLICABLE LAW
33.   Paragraphs 55 and 56 (applicable law) are noted but not admitted. ED&F Man’s defence is pleaded
      on the basis that English law, alternatively Danish law, is the law applicable to SKAT’s claims.

      I. ENGLISH LAW CLAIMS AGAINST THE ALLEGED FRAUD DEFENDANTS
34.   ED&F Man does not plead to paragraphs 57 to 85 (claims against Alleged Fraud Defendants)
      which do not contain allegations against ED&F Man.

      J. ENGLISH LAW CLAIMS AGAINST THE NON-FRAUD DEFENDANTS
      J1. Tort/delict
35.   ED&F Man does not plead to paragraphs 86 to 90 (Agents’ alleged liability for negligent
      misrepresentation) which do not contain allegations against ED&F Man.

36.   Paragraph 91 (ED&F Man’s alleged liability for negligent representation) is denied, as further set
      out in 5T.Def below. ED&F Man does not plead to paragraphs 92 to 94 which relate to the Non-
      Fraud Custodians only, a group which no longer includes ED&F Man (see paragraph 9.1 above).

37.   As to paragraph 92 (ED&F Man’s alleged duty of care to SKAT):

      37.1. it is denied that ED&F Man owed SKAT a duty to take reasonable care as alleged. In
             particular:

             37.1.1. there was no contractual relationship between ED&F Man and SKAT, which was
                        not ED&F Man’s client;


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       37.1.2. the Tax Vouchers were prepared for ED&F Man’s client only and were not
                submitted by ED&F Man to SKAT;

       37.1.3. there were no written or oral communications at any material time between ED&F
                Man and SKAT in relation to the Tax Vouchers or otherwise;

       37.1.4. by the Tax Vouchers, ED&F Man did not make any representations to SKAT:
                paragraph 245.2 above is repeated; moreover

       37.1.5. at the time of receipt of the Tax Vouchers, SKAT knew or ought to have known
                from the matters set out at subparagraph 24.1 above that (1) ED&F Man was not
                assuming responsibility to SKAT for any (alleged) representations relating to the
                beneficial ownership of shares or dividends described in the Tax Vouchers; and (2)
                SKAT could not rely on such representations without independent inquiry.

37.2. it is denied that the facts and matters set out in sub-paragraphs 92 (a) to (i) support the
       imposition of the alleged duty of care. In particular:

37.3. subparagraph 92(a) (the AML obligations) is admitted. However at all material times ED&F
       Man maintained suitable policies and procedures in accordance with these obligations;

37.4. as to subparagraph 92(b) (ED&F Man’s regulatory obligations), it is admitted that (1)
       ED&F Man is subject to Principles 2 and 3 and SYSC 6 of the Financial Conduct Authority
       Handbook; and (2) subparagraphs 92 (b) (i) and (ii) contain a broadly accurate summary of
       Principles 2 and 3 and (parts of) SYSC 6;

37.5. subparagraph 92(c) (ED&F Man’s access to trading activity records) is admitted;

37.6. as to subparagraph 92(d) (ED&F Man’s knowledge of Tax Vouchers’ purpose):

       37.6.1. it is admitted (as alleged at subparagraph 92 (d)(i)) that ED&F Man knew that PPs
                engaged in the trading of shares in Danish companies for the purpose of making tax
                reclaim applications to SKAT; and

       37.6.2. it is admitted (as alleged at subparagraphs 92 (d)(ii) and (iii)) that ED&F Man
                knew that the Tax Vouchers which it produced for the PPs were likely to be (1)
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                used for the purpose of the Relevant WHT Applications; and (2) communicated to
                SKAT for such purpose; however

       37.6.3. ED&F Man (1) had no role in the preparation of the Relevant WHT Applications;
                and (2) was not qualified to advise as to (and did not advise as to) the Relevant
                WHT Applicant’s declaration as to beneficial ownership as contained in the Tax
                Relief Form;

37.7. as to sub-paragraph 92(e) (alleged reliance on Tax Vouchers to seek large WHT refunds):


       37.7.1. as to subparagraph 92 (e)(i), it is denied that ED&F Man knew that the Tax
                Vouchers “…would be relied upon to seek very large sums by way of WHT
                refunds…” as alleged. In particular whilst (1) ED&F Man knew that the Tax
                Voucher was one of a number of documents which SKAT required to be submitted
                by ED&F Man’s clients (the PPs) in support of WHT reclaim applications; (2)
                ED&F Man did not know what other documentation was required by SKAT and/or
                the criteria which SKAT applied in the assessment of a tax reclaim;

       37.7.2. as to subparagraph 92(e)(ii), it is admitted that ED&F Man knew that 8 different
                Investment Managers represented the 36 PPs but it is denied (insofar as it is
                apparently alleged) that the number of Investment Managers is relevant to the
                imposition of a duty of care upon ED&F Man;

       37.7.3. as to subparagraph 92(e)(iii) (payment of proceeds of WHT Applications), it is
                denied that ED&F Man knew that “…they were paying the large majority of the
                proceeds of the [Relevant] WHT Applications to persons other than…” the PPs: the
                tax reclaims received by ED&F Man via the relevant tax reclaim agent were
                credited directly to the PP’s Custody Account;

37.8. as to subparagraph 92(f) (alleged Custodian Representations), paragraph 24 above is
       repeated;

37.9. as to subparagraph 92(g) (SKAT’s reasonable reliance), it is denied that it was reasonable
       for SKAT to rely on any representations contained in the Tax Vouchers without further
       enquiry and subparagraph 24.1 above is repeated. Further:
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             37.9.1. it was a matter for SKAT as the tax authority in Denmark with overall
                       responsibility for processing WHT applications to devise and implement
                       appropriate systems and procedures which ensured that such applications were
                       fairly and accurately reviewed and assessed;


             37.9.2. insofar as the matters set out at subparagraphs 92 (g) (ii) to (v) are true, such that
                       SKAT was unable fairly and accurately to review and assess the Relevant WHT
                       Applications, that was as a result of SKAT’s own negligence as set out at
                       paragraphs 40 and 41 below; and


             37.9.3. it is denied that ED&F Man knew or ought to have known the matters set out at
                       subparagraphs 92 (g) (i) to (v): the extent of ED&F Man’s knowledge at the
                       material time was as set out at subparagraphs 37.6 and 37.7 above; in the premises

      37.10. subparagraph 92(h) (ED&F Man’s alleged knowledge of SKAT’s reliance) and
             subparagraph 93(i) (alleged reasonable foreseeability of SKAT’s losses) are denied; and


      37.11. ED&F Man did not assume responsibility to SKAT in respect of the accuracy of the
             representations (if any) contained in the Tax Vouchers; and/or there was not a sufficiently
             proximate relationship between ED&F Man and SKAT; and/or it would not be fair, just and
             reasonable to impose a duty of care on ED&F Man, whether as alleged or at all.

38.   Paragraph 93 (ED&F Man’s alleged breach of duty) is inadequately pleaded: SKAT has not set out
      any particulars in support of its assertion that ED&F Man failed to take reasonable care to ensure
      that the Tax Vouchers were accurate statements of the matters set out therein. Without prejudice to
      the foregoing and the matters set out in SKAT RFI Response/5, it is denied that ED&F Man acted
      in breach of duty as alleged or at all:

      38.1. ED&F Man did not owe SKAT a duty of care: paragraph 0 above is repeated;

      38.2. insofar as such duty was owed and representations were made, it related only to the
             Custodian Representations which were true: paragraphs 0 and 27 above are repeated; and in
             any event


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      38.2A. the WHT Applicants did not hold the Security identified in the Tax Vouchers as a “mere
             nominee”: paragraph 27.6 above is repeated;

      38.3. with the exception of (1) the Annex A Tax Vouchers; and (2) the Annex E Tax Vouchers (in
             respect of which breach of duty is not admitted), ED&F Man exercised all due care and skill
             in making the Custodian Representations by reference to the ED&F Man Records (as to
             which subparagraph 27.5 above is repeated).

39.   As to paragraph 94 (payments made by SKAT in relation to the Relevant WHT Applications):


      39.1. it is denied that SKAT (1) reasonably relied on the Custodian Representations (if made); or
             (2) was thereby induced by ED&F Man to make payments in respect of the Relevant WHT
             Applications; or (3) would not otherwise have made such payments: paragraphs 24 and 0
             above are repeated; in any event

      39.2. it is not admitted that SKAT made payments of DKK582 million in respect of the Relevant
             WHT Applications as alleged in subparagraph 94 (d) and SKAT is put to strict proof of the
             allegation;

      39.3. save as aforesaid, ED&F Man does not plead to paragraph 94 (payments relating to Credit
             Advice Notes from Indigo, North Channel Bank and Lindisfarne) which does not contain
             allegations against ED&F Man.

39A. As to paragraph 94A (ED&F Man’s alleged duty of care and breach of duty; SKAT’s reliance and
      loss), it is denied that ED&F Man owed SKAT a duty of care or therefore breached that duty or that
      SKAT has suffered loss and damage as a result (5T.Def/16-22).

40.   Further or alternatively, between 2012 and 2015 the systems and procedures in place at SKAT for
      managing the review and assessment of WHT reclaim applications were manifestly deficient in
      numerous respects. In particular and pending full disclosure:

      40.1. ED&F Man relies on (1) the Rigsrevisionen Report dated February 2016; (2) the (undated)
             Intern Revision report relating to SKAT’s administration of WHT tax; (3) judgments dated
             7 December 2017 and 23 May 2018 in relation to criminal proceedings against Sven Jørgen


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       Nielsen (the “Nielsen Criminal Proceedings”); and (4) the additional documentation
       requirements introduced by SKAT since its discovery of the WHT Scheme;


40.2. SKAT had no written procedures in place to govern its processing of tax reclaim
       applications between 2012 and 2015 and:
       40.2.1.   approximately 90% of the WHT reclaim applications to SKAT were handled by
                 Sven Jørgen Nielsen (“Sven Nielsen”), who (despite the rapidly increasing
                 number of WHT reclaim applications from 2012) was the sole individual in the
                 department dealing with such applications (“the WHT Department”)
                 responsible for their approval;
       40.2.2.   in practice Sven Nielsen did no more than check that: (1) the documents required
                 by SKAT had been submitted; and (2) the amount claimed had been accurately
                 calculated, in which event he authorised SKAT to pay the WHT reclaim
                 application;
       40.2.3.   further, during the same period SKAT had no means of independently verifying
                 (1) the identity of the beneficial owners of shares held by foreign shareholders in
                 Danish companies in custody accounts maintained outside Denmark (such shares
                 being registered as held by the custodian only); or (2) whether WHT had been
                 withheld in respect of the dividends paid on such shares (5T.Def/18.6.3);
       40.2.4.   notwithstanding the foregoing, SKAT only sought the information set out in the
                 Tax Relief Form (RRAPOC/10) and did not seek supporting documentation from
                 the Relevant WHT ED&F Man Applicant or from ED&F Man or make other
                 inquiries to verify whether the PP identified in the Tax Voucher (1) was the
                 owner of the shares on the Reference Date and (2) had received the dividend
                 described therein (less WHT);
       40.2.5.   instead, SKAT unlawfully delegated the evaluation and approval of the
                 information and documentation submitted to SKAT in support of WHT
                 applications to separate schemes operated by (1) the Danish banks; and (2) VP
                 Securities A/S (the Danish Central Securities Depository), which (in the absence
                 of the necessary statutory authority) resulted in the termination of the schemes in
                 September and November 2015;
       40.2.6.   further, in breach of SKAT’s guidance obligation (article 7 of forvaltingslov)
                 and/or investigation obligation (Officialmaksimen) under Danish law, SKAT did
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                 not take any or any sufficient steps to (1) publish guidance in relation to (a) the
                 information and documentation required from WHT applicants; or (b) the criteria
                 governing beneficial ownership; and (2) obtain and verify such information and
                 documentation;
       40.2.7.   moreover (1) by 2011 SKAT had grounds to suspect that Sven Nielsen had
                 dishonestly received illicit payments of up to DKK2m from Torben Dilung
                 between 2006 and 2011 (the “Dilung Payments”); however (2) in June 2011
                 SKAT indefinitely suspended its investigation into Sven Nielsen in relation to the
                 Dilung Payments for no or no good reason and (3) SKAT permitted Sven Nielsen
                 to remain as an employee of SKAT until he was charged with fraud in Denmark
                 in relation to the Dilung Payments in May 2015; and
       40.2.8.   in 2013 SKAT did not implement the control functions set out in a statutory order
                 (the “2013 Statutory Order”) which would have enabled SKAT upon receipt of
                 a WHT application to compare (1) the information received by SKAT from a
                 Danish Listed Company immediately after the Declaration as to (a) the identity of
                 dividend recipients; and (b) the amount of WHT; with (2) the information set out
                 in the WHT application in relation to (a) and (b);

40.3. SKAT’s senior management were aware of and/or complicit in the deficiencies set out
       above from 2012 at the latest (such deficiencies having been repeatedly raised with senior
       management by at least Lisbeth Rømer (Head of WHT Department between 2002 and
       2013)) but took no or insufficient action to remedy the deficiencies until after the discovery
       of the WHT Scheme described in the Re-Amended Particulars of Claim; in the premises

40.4. SKAT failed adequately or at all:
       40.4.1.   to develop or implement any or any sufficient processes and/or controls to verify
                 whether applicants for WHT refunds were entitled to reclaim WHT;
       40.4.2.   to ensure that the WHT Department was appropriately staffed to deal with the
                 volume of WHT applications received between 2012 and 2015;
       40.4.3.   to respond appropriately in 2011 to its discovery of the Dilung Payments which
                 cast serious doubt on the honesty and integrity of Sven Nielsen;




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             40.4.4.    to act on fundamental process issues raised by (at least) Lisbeth Romer prior to
                        2012 (including SKAT’s inability to verify the underlying ownership of shares
                        held in Danish companies); and
             40.4.5.    to implement the 2013 Statutory Order.


41.   In the premises, and in circumstances where SKAT assumed responsibility for deciding whether (1)
      the shares and dividends described in the Tax Vouchers were beneficially owned by the PPs on
      whose behalf the Relevant WHT ED&F Man Applications were made; and (2) WHT had been
      withheld in respect of such dividends:
      41.1. insofar as SKAT paid the Relevant WHT ED&F Man Applications (1) mistakenly,
             believing that (a) the shares and dividends described in the Tax Vouchers were beneficially
             owned by the PPs; and (b) WHT had been withheld; or (2) recklessly, not caring whether
             this was the case or not such shares were beneficially so owned, such payments were made
             as a result of SKAT’s negligence;
      41.2. SKAT’s own negligence was the only real and substantial cause of the losses claimed
             against ED&F Man and/or eclipsed any causative effect of ED&F Man’s alleged negligence
             (if proven); further or alternatively
      41.3. any damages payable to SKAT on account of ED&F Man’s alleged negligence ought to be
             reduced because SKAT’s contributory negligence caused or aggravated the alleged damage.


      J2. Unjust enrichment/restitution
42.   As to paragraph 95 (SKAT’s alleged mistaken payments to Agents and Global Equities):
      42.1. SKAT was not mistaken as to the information set out in the Tax Vouchers in circumstances
             where (1) factually (with the exception of the Annex A and Annex E Tax Vouchers), the
             Custodian Representations were true any representations made by the Tax Vouchers were
             accurate (5T.Def/18.7.3); (2) legally, the Custodian Representations the Tax Vouchers did
             not contain the alleged Beneficial Ownership Representation (5T.Def/12.2-12.5) any
             representation as to the PP’s beneficial ownership of the shares described in the Tax
             Vouchers; further

      42.2. SKAT was itself in a state of doubt as to the PP’s beneficial ownership of such shares as a
             result of the matters set out at subparagraphs 24.1.3 and subparagraph 40.2.3 above and
             5T.Def/12.3.4 yet paid the tax reclaim agents anyway without taking reasonable or any steps
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             to resolve such doubt, and therefore SKAT was not relevantly mistaken in relation to the
             PP’s beneficial ownership of the shares described in the Tax Vouchers; in any event


      42.3. the Custodian ED&F Man Representations did not cause SKAT to make payments to tax
             reclaim agents in relation to the Relevant WHT ED&F Man Applications, which would
             have been made anyway;

      42.4. further, such payments as were made to Global and GTS in relation to 270 4 of the 420
             Relevant WHT ED&F Man Applications were not made to the Agents (as defined) or
             Global Equities; and

      42.5. in any event, it is not admitted that SKAT paid out the sums alleged to the Agents or Global
             Equities.


43.   As to paragraph 96 (ED&F Man’s receipt of fees), it is admitted that ED&F Man received fees for
      standard financial brokerage, settlement and custody services provided to its client (the PP) (as set
      out in 5T.Def/4.2.4 and 6.1) in connection with the PP’s acquisition of Danish shares out of the
      proceeds of any successful WHT applications which included a Tax Voucher prepared by ED&F
      Man (the “ED&F Man Fees”). Save as aforesaid, paragraph 96 is denied:

      43.1. the ED&F Man Fees were not received as a result of SKAT’s mistaken payment of WHT
             refunds (see paragraph 42 above); further,

      43.2. the receipt of the ED&F Man Fees was not unjust: the ED&F Man Fees were received by
             ED&F Man in good faith for payment of services provided to its clients; and in any event


      43.3. as a result of receiving the ED&F Man Fees, ED&F Man changed its position in good faith
             and to its detriment in reliance on SKAT’s payment of WHT refunds without notice of
             SKAT’s (alleged) interest in such WHT refunds by making payment of bonuses to
             employees which ED&F Man would not ordinarily have made: accordingly, SKAT is not
             entitled to restitution in respect of such payments.


44.   Paragraph 97 (ED&F Man’s unjust enrichment at SKAT’s expense) is denied. Paragraphs 42 and
      43 above are repeated. Further, ED&F Man has not (or will not have) been enriched at SKAT’s
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      expense to the extent that SKAT has recovered (or does recover) amounts from the PPs in
      settlement of the payments made by SKAT in respect of ED&F Man Applications made on their
      behalf (see paragraph 2.3 above).

45.   In the premises, it is denied that ED&F Man is liable to make restitution to SKAT of the ED&F
      Man Fees as alleged in paragraph 98 (ED&F Man’s liability in restitution).


      K. ALTERNATIVE DANISH LAW CLAIMS
      K1. Danish law
46.   Paragraph 99 (Danish law) is admitted as a broadly accurate summary of Danish law, save that:
      46.1. the liability of (1) a tortfeasor (subparagraphs 99(a)(ii) and (b)) and (2) the accomplice of a
             tortfeasor (subparagraphs 99(c) and (d)) each fall to be assessed against the culpa standard
             by reference to the factors set out at subparagraph 99(b));


      46.2. a claimant’s entitlement to restitution on the grounds of unjust enrichment (subparagraph
             99(e)) is a discretionary remedy based on a residual legal principle which is rarely applied.


      K2. Damages claims against the Alleged Fraud Defendants
47.   ED&F Man does not plead to paragraph 100 (misconduct of Alleged Fraud Defendants) which does
      not contain allegations against ED&F Man.

      K3. Damages claims against other Defendants
48.   As to paragraph 101 (Danish law negligence claim against ED&F Man), ED&F Man does not plead
      to sub-paragraph (c) (conduct of Agents and Global) which does not relate to ED&F Man.
      Otherwise it is denied (1) that (with the exception of (a) the Annex A Tax Vouchers; and (b) the
      Annex E Tax Vouchers (in respect of which violation and/or breach is not admitted)) ED&F Man’s
      conduct violated the culpa standard or any other requisite standard of care as alleged in sub-
      paragraphs (a) and (b) or (2) that SKAT suffered the losses set out in paragraph 90(d) as a result as
      alleged in sub-paragraph (d): see 5T.Def/11-15, 19-21, 24-25 and paragraphs 40-41 above.
      Paragraphs 0 to 41 above are repeated.

49.   ED&F Man does not plead to paragraph 102 (other Non-Fraud Defendants) which does not contain
      allegations against ED&F Man.

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      K4. Unjust enrichment/restitution claims
50.   As to paragraph 103 (Danish law unjust enrichment claim against ED&F Man), (1) ED&F Man
      received payment (including the ED&F Man Fees) for the services it supplied and was not unjustly
      enriched thereby; (2) in the premises it is denied that ED&F Man is liable under Danish law in
      unjust enrichment and/or restitution. Paragraphs 42 to 44 and 0 above are repeated.

      K5. Proprietary claim
51.   ED&F Man does not plead to paragraph 104 (proprietary claims against selected Alleged Fraud
      Defendants) which does not contain allegations against ED&F Man.

      K6. Additional defences to Danish law claims
52.   Further or alternatively, under principles developed in Danish case law SKAT (as a public
      authority) is not entitled to rescind decisions to grant WHT refunds which were made properly and
      on the basis of Tax Vouchers prepared in good faith and where the information set out therein (save
      for the Annex A Tax Vouchers) was accurate.

53.   Further or alternatively, SKAT’s claims against ED&F Man in respect of WHT refund payments
      made prior to 19 November 2012 are barred by the three year limitation period applicable in Danish
      law to public debt claims already obsolete on 19 November 2015.


      L. INTEREST
54.   As to paragraph 105 (English law interest claim) and paragraph 106 (Danish law interest claim), (1)
      it is noted that SKAT claims interest against ED&F Man only if Danish law applies; (2) in the
      premises it is denied that SKAT is entitled to the interest claimed or at all.

      M. CURRENCY OF CLAIMS
55.   Paragraphs 107 and 108 (currency of claims) are noted.

      N. REVENUE RULE
56.   Further or alternatively, in circumstances where SKAT seeks to enforce in the English courts the
      revenue laws of Denmark (including (1) the right of Danish companies to withhold tax under the
      Danish Withholding Tax Act 1967 in respect of shares beneficially owned by foreign shareholders;
      and (2) double taxation treaties between Denmark and the United States and Canada), SKAT’s



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       clai s against ED&F Man are liable to be struck out on the grounds that the English courts lack
      juri diction to determine such claims.

       0. CHEDULE ST
57.    ED F Man pleads to AmeRded SehedHle ST in ST.Def. AmleKD ta Ulis A.mended DefeRce.




58.    In t e premises, it is denied that SKAT is entitled to the relief sought against ED&F Man in
       par graph (4) (damages), paragraph (5) (restitution), paragraph (7) (interest) and paragraph (8)
       (co ts) or to any relief.

                                                                                    ALI MALEK QC
                                                                            MATTHEW HARDWICK QC
                                                                               GEORGE McPHERSON

                                                                                     ALI MALEK QC
                                                                             MATTHEW HARDWICK QC
                                                                                GEORGE McPHERSON

                                                                                     ALI MALEK QC
                                                                             MATTHEW HARDWICK QC
                                                                                GEORGE McPHERSON


                                            Statement of Truth

ED&F Ma believes that the facts stated in this Re-Amended Defence are true and I am duly authorised by
it to sign th s statement of truth on its behalf. I understand that proceedings for contempt of court may be
brought ag inst anyone who makes, or causes to be made, a false statement in a document verified by a
statement o truth without an honest belief in its truth.


signed .... �l., �.P.\.,�     G�SQ:;. . . .. . . .. . . .
Full Name: Christopher John Robert Smith
Title/Positi n: Managing Director of ED&F Man Capital Markets Limited
Date: 11 J ne 2020

Re-served is 12th day of June 2020 by Rosenblatt, of 9-13 St Andrew Street, London EC4A 3AF
solicitors to the 69th Defendant to Claim No CL-2018-000297.




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                               DEFENCE TO RE-AMENDED SCHEDULE 5T1

1.      This Defence:

        1.1.     responds to SKAT’s new Re-Amended Schedule 5T (“5T”) as clarified by (1) SKAT’s 28
                 February 2020 response to ED&F Man’s 6 December 2019 Part 18 Request (“the February
                 2020 RFI Response”); and (2) SKAT’s 28 February 2020 Further Particulars Regarding the
                 Validity of the WHT Refund Application (“the Validity Particulars”);

        1.2.     is in addition to ED&F Man’s Re-Amended Defence (“Re-ADef”) which defence (1)
                 amends ED&F Man’s existing Amended Defence (dated 5 September 2019) (“ADef”)2 in
                 order to respond to the new allegations contained in SKAT’s Re-Re-Amended Particulars of
                 Claim (dated 18 February 2020) (“the RRAPOC”); but (2) no longer responds to specific
                 allegations of negligence against ED&F Man in circumstances where (a) the allegations in
                 RRAPOC/21-24 as to representations and falsity no longer apply to ED&F Man; and
                 instead (b) SKAT’s negligence case against ED&F Man is (as clarified in RRAPOC/24A)
                 exclusively contained in 5T; and

        1.3.     should be read in conjunction with ED&F Man’s Defence to the Validity Particulars dated
                 12 June 2020 (the “Validity Defence”); and

        1.4.     save where otherwise stated, deploys the defined terms used in the RRAPOC and the Re-
                 ADef.

2.      Paragraph 1 (ED&F Man as 69th Defendant) is admitted. ED&F Man and its business are described
        in Re-ADef/6.1.

        A. ALLEGED UNJUST ENRICHMENT

3.      As to paragraph 2 (fees and other payments):


        3.1.     it is admitted that as a result of the Schedule 1B ED&F Man Applications, ED&F Man
                 received fees;

1
  In circumstances where (as stated in footnote 1 to the Re-Amended Schedule 5T itself) Re-Amended Schedule 5T replaced the
entirety of Amended Schedule 5T, ED&F Man takes the same position as SKAT in not showing in green and underlined the
entirety of this new Defence.
2
  ED&F Man’s original Defence was dated 14 December 2018.
                                                             1
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     3.2.   no admissions are made as to the receipt of unidentified “other payments” (and SKAT’s
            intention to provide proper particulars of the same “…after disclosure and/or witness
            statements…” is noted);


     3.3.   it is denied (as apparently intended by the use of the subheading “Unjust Enrichment”) that
            ED&F Man was unjustly enriched by the receipt of fees and other payments: it was not (and
            Re-ADef/42-44 is repeated).

     B. ALLEGED NEGLIGENT MISREPRESENTATION
     B1. The Alleged ED&F Man Scheme

4.   Paragraph 3 (the alleged “ED&F Man Scheme”) is denied. In particular:

     4.1.   the allegation is inadequately pleaded and embarrassingly vague in the absence of any
            particulars as to when (beyond the vague “…in or about 2012…”), how and by whom the
            alleged “scheme” was “devised and structured”. In any event (and strictly without prejudice
            to the burden of proof):

     4.2.   it is denied that there was any “scheme” (as considered further below) and/or that ED&F
            Man “…devised and structured a scheme…” in the manner alleged or at all. On the
            contrary:

            4.2.1.      from approximately February 2012, ED&F Man was approached by Investment
                        Managers acting on behalf of 3 Canadian and 33 US PPs to set up brokerage and
                        custody accounts for PPs with a view to such PPs: (1) acquiring the rights to
                        shares in the Dividend Window (Re-ADef/10.3); (2) in companies domiciled in
                        jurisdictions benefiting from a “double taxation” treaty with the United States or
                        Canada; and (3) for the purpose of receiving payment of the dividend (the
                        “Dividend Arbitrage Strategy”);

            4.2.2.      as a result 36 PPs managed by 8 different Investment Managers (as identified in
                        Re-ADef Amended Annex B (“Annex B”) and Annex C (“Annex C”)) (1)
                        (between 22 February 2012 and 24 February 2014) became clients of ED&F Man;
                        (2) instructed ED&F Man to acquire shares on their behalf in a variety of
                        jurisdictions utilising a variety of different trades to implement their Dividend
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             Arbitrage Strategy; and (3) (from 7 September 2012) submitted WHT applications
             to SKAT (in respect of shares acquired by the PPs in Danish companies);

    4.2.3.   ED&F Man played no role in (1) the formulation of the Dividend Arbitrage
             Strategy or (2) the design of the trades (designed by the Investment Managers); or
             (3) the recruitment of PPs as clients of ED&F Man (introduced to ED&F Man by
             the PPs’ Investment Managers); instead

    4.2.4.   ED&F Man’s role was limited to providing standard financial brokerage,
             settlement and custody services (“the ED&F Man Services”) which involved in
             summary (as further set out in Re-ADef/10.4 and 27.3):

             4.2.4.1.   upon ED&F Man’s retention by the PP: setting up client designated
                        securities and cash accounts for the PP (the Custody Account) to receive
                        and hold shares (the Security) and dividends in respect of the same;

             4.2.4.2.   on the Trade Date (i.e. prior to the Reference Date) and on instruction
                        from the PP as communicated by its Investment Managers: (1)
                        purchasing for or redelivering to the PP the rights to the Security (such
                        rights held in its Omnibus Account); and (2) enabling the Hedge;

             4.2.4.3.   from the Trade Date and on the Reference Date: holding the Security as
                        bare trustee on behalf of the PP and recording the PP’s ownership of the
                        Security in the PP’s Custody Account;

             4.2.4.4.   on the Settlement Date paying for the Security on behalf of the PP and
                        debiting the PP’s Custody Account; and

             4.2.4.5.   after the Settlement Date: (1) holding as custodian and trustee on behalf
                        of the PP the dividend in respect of the security rights (net of WHT) in
                        its Omnibus Account and recording the PP’s receipt of the dividend by
                        crediting the PP’s Custody Account; (2) producing at the PP’s request a
                        Tax Voucher for the PP; and (3) holding as custodian and trustee in its
                        Omnibus Account, the amount of WHT in respect of the dividend and


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                                recording the PP’s receipt of this WHT by crediting the PP’s Custody
                                Account.

5.   Paragraph 4 (the alleged ingredients of the ED&F Man Scheme) is denied. In particular:

     5.1.   again the allegations are inadequately pleaded and embarrassingly vague in the absence of
            any attempt to particularise when and how ED&F Man is alleged to have recruited the PPs.
            In any event (and strictly without prejudice to the burden of proof):

     5.2.   as to the first sentence, there was no “…recruitment…” by ED&F Man of the PPs. On the
            contrary ED&F Man’s commercial relationship with each of the 36 PPs (referred to above
            and identified in Annexes B and C) commenced (1) not by reason of the alleged recruitment
            of the PPs by ED&F Man; but (2) by reason of the fact that:

            5.2.1.   the PPs required specialist financial brokerage, clearing, settlement and custodian
                     services in order to pursue the Dividend Arbitrage Strategy;

            5.2.2.   ED&F Man was (and remains) a well-known global financial brokerage business
                     authorised to provide (among other services) (1) specialised securities lending and
                     financing services; (2) clearing and settlement for equities and fixed-income
                     securities; and (3) custodian services for on-exchange and over-the-counter
                     transactions; and

            5.2.3.   the PPs were introduced to ED&F Man by their Investment Managers (acting on
                     the PPs’ behalf and as their agents);

     5.3.   as to the second and third sentences, whilst ED&F Man did (as alleged in the second
            sentence) act as custodian on behalf of the PPs, (1) there was no “scheme”; and (2) there
            was no “purported” purchase of shares: paragraph 4.2 above is repeated;

     5.4.   as to the fourth sentence, it is denied that the transactions were “entirely financed by the
            ED&F Man”. Whilst it is admitted that ED&F Man provided funding (as part of a standard
            suite of services provided in the brokerage market in which it operated), the PPs (1)
            financed the transaction costs (the dealing and advisory fees and the costs of the Hedge)



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            from the dividends received; and (2) settled the acquisition of the Security with a debit to
            the Custody Account;

     5.5.   as to the fifth sentence, again there was no “scheme”, and the only “purpose” on ED&F
            Man’s part was to provide broking, finance, execution, settlement and custody services to its
            PP customers in the ordinary course of its business. In particular: (1) the PPs (via their
            Investment Managers) required the services of ED&F Man in order to (a) acquire rights to
            securities in Danish listed companies over the Reference Date; (b) enter into the Hedges;
            (c) receive dividends in respect of such security rights; (d) hold and record the PPs’ rights to
            the securities and receipt of dividends in a client designated account and in the PPs’ name;
            and (e) to provide evidence of such acquisition and receipt in the form of its Tax Vouchers;
            and (2) the PPs then used specialist tax reclaim agents to make withholding tax applications
            on their behalf by submitting the completed Tax Relief Form (as defined at RRAPOC/10)
            with supporting documents.

6.   As to paragraph 5 (alleged facts and matters in support of the existence of the alleged scheme):

     6.1.   subparagraph (a) (ED&F Man as alleged “principal beneficiary” of the WHT) is denied:

            6.1.1.    ED&F Man was not a “beneficiary” of the WHT: ED&F Man received fees (1) for
                      the ED&F Man Services provided to its clients (the PPs); (2) which varied from
                      client to client; and (3) were calculated by reference to the size of the client’s trade
                      and/or the client’s profit generated on the totality of its trades, and not by reference
                      to the success of a client’s WHT application; and

            6.1.2.    the PPs paid these fees from the funds in their Custody Accounts;

     6.2.   subparagraph (b) (the “Paragraph 10 Transactions”) is denied. In particular:

            6.2.1.    paragraph 10 of the Amended Defence (retained at R-ADef/10 and summarised
                      above) was only intended (as stated in the first line thereof) as a summary of
                      “…the circumstances in which ED&F man produced the Tax Vouchers…”: it was
                      not intended to (and did not) describe either “a chain of transactions” or a “single
                      identical scheme” – but had the more modest aim (for pleading purposes) of
                      identifying, in a relatively simple and high level way, the standard brokerage and
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                     custodian services provided by ED&F Man which culminated in the production of
                     the Tax Vouchers; in the premises

            6.2.2.   whilst the format of, and the nature of the information contained in, the ED&F
                     Man produced Tax Vouchers did not vary (see Re-ADef/11) (since ED&F Man’s
                     standard form Tax Voucher adequately captured the information categories and
                     information supplied across all of the PPs);

            6.2.3.   there was no “single identical scheme which applied to different PPs”: each
                     Investment Manager devised its own trades on behalf of its PP clients: paragraph
                     4.2 above is repeated; and

            6.2.4.   ED&F Man did not “devise” any “single identical scheme” as alleged;

     6.3.   subparagraph (c) (the “Goldstein PP”) is denied. In particular:

            6.3.1.   whilst it is admitted (1) that the Goldstein PP was one of ED&F Man’s PP clients
                     and on behalf of whom ED&F Man issued 8 Tax Vouchers (as alleged); and (2)
                     that in the 30 August 2019 filing the Goldstein PP has alleged that ED&F Man
                     “…solicited and sold…” to the Goldstein PP “…customised equity finance
                     solutions…”;

            6.3.2.   Goldstein PP’s allegation of solicitation is emphatically denied: it was Goldstein
                     PP (via its Investment Manager) which approached ED&F Man (and paragraphs 4
                     and 5 above are repeated).

     B2. The Tax Vouchers

7.   As to paragraph 6 (alleged implementation of the ED&F Man Scheme):

     7.1.   it is admitted that ED&F Man produced 420 documents entitled “Tax Vouchers” on behalf
            of 36 PPs: Re-ADef/10 and 11 are repeated;

     7.2.   it is denied that from September 2012 to May 2015 (or at all), ED&F Man either
            implemented or purported to implement the alleged ED&F Man Scheme: there was no such
            scheme (and paragraphs 4 and 5 above are repeated).
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8.   As to paragraph 7 (purpose of the Tax Vouchers):

     8.1.   as to the first sentence (ED&F Man’s financial benefit):

            8.1.1.   SKAT’s use of the defined term “ED&F Man Applications” (1) is misleading (in
                     circumstances where such applications were made (a) on behalf of the PPs and (b)
                     by means of Tax Relief Forms prepared and submitted by the PPs’ specialist tax
                     reclaim agents, the preparation and submission of which ED&F Man played no
                     part in); and (2) is only used in this Defence to avoid a proliferation of different
                     defined terms (and strictly and only in order to denote WHT applications in
                     respect of which ED&F Man Tax Vouchers were submitted);

            8.1.2.   it is denied that there was a “scheme” (paragraphs 4 and 5 above are repeated);

            8.1.3.   it is denied that ED&F Man’s “financial benefit” depended on “…the successful
                     making of ED&F Man Applications to SKAT…” (and paragraph 6.1 above is
                     repeated);

     8.2.   as to the second sentence (the Tax Voucher):

            8.2.1.   it is admitted that ED&F Man knew that the Tax Vouchers which it produced for
                     the PPs were to be used for the purpose of the ED&F Man Applications; however
                     (and for the avoidance of doubt)

            8.2.2.   the principal document which ED&F Man understood to be required by SKAT
                     (for the purpose of the ED&F Man Applications) was SKAT’s Tax Relief Form
                     (defined at RRAPOC/10) which required: (1) a signature from the PP as WHT
                     applicant (or from the PP’s specialised tax reclaim agent) declaring the PP as
                     “beneficial owner”; and (2) a signature and stamp from a “competent authority” in
                     the PP’s country of origin certifying that “the beneficial owner is covered by the
                     Double Taxation Convention” ;

     8.3.   it is denied (as alleged in the third sentence) that ED&F Man produced the Tax Vouchers
            “…for the purpose of, and with the intention that, the Tax Vouchers would be presented to



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            SKAT as part of an ED&F Man Application in accordance with the ED&F Man
            Scheme…”:

            8.3.1.   ED&F Man produced the Tax Vouchers at the request of and for the purpose of its
                     clients (the PPs); and

            8.3.2.   the subsequent tax reclaim applications (the so-called “ED&F Man Applications”)
                     were not made in accordance with the alleged “ED&F Man Scheme” (and were
                     not made by ED&F Man): these 420 applications were made utilising the Tax
                     Relief Form which were submitted by the 4 tax reclaim agents (identified at Re-
                     ADef/17.1) on behalf of the PPs.

9.   As to paragraph 8 (the WHT payments):

     9.1.   as to the first sentence (the WHT payments):

            9.1.1.   it is admitted that the Tax Vouchers were “presented to SKAT”: they were
                     included as one of the documents supporting the Tax Relief Forms; however

            9.1.2.   ED&F Man had no involvement in the presentation of these Tax Relief Forms,
                     which were (1) prepared and signed by the 4 tax reclaim agents (not by ED&F
                     Man) on behalf of the PPs; (2) required (in the language of the pro forma forms) to
                     be certified by the “competent authority”; and (3) presented to SKAT by the 4 tax
                     reclaim agents; and

            9.1.3.   whilst the aggregate sum of the WHT payments is admitted, it is denied (insofar as
                     it is intended to be alleged) that SKAT made the WHT payments “in response” to
                     the presentation of the Tax Vouchers: on the contrary, and strictly without
                     prejudice to the burden of proof: (1) (as set out at Re-ADef/15) SKAT’s Tax
                     Relief Form made clear that the declaration as to beneficial ownership was made
                     (a) in the Tax Relief Form itself (in the first prominent entry “Beneficial Owner”);
                     (b) by (or on behalf of) the person claiming the WHT refund; (c) with a stamped
                     and signed certification from the “competent authority” in the PP’s home country
                     that the “beneficial owner is covered by the Double Taxation Convention” and (2)


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                       SKAT made payments “in response” to the Tax Relief Form (and in particular that
                       declaration);

      9.2.    as to the second, third, fourth and fifth sentences (remission of WHT payments by Goal,
              Acupay and Global Equities):

              9.2.1.   it is admitted that in respect of the ED&F Man Applications made by Goal and
                       Acupay, they remitted the WHT payments to ED&F Man following deduction of
                       their own fees (the PP’s receipt of such payment being recorded in the PP’s
                       Custody Account);

              9.2.2.   it is admitted that in respect of the ED&F Man Applications made by Global
                       Equities, ED&F Man received the WHT payments (1) directly from SKAT until
                       June 2014; and (2) indirectly from Global Equities’ UK associate/agent thereafter
                       (the PP’s receipt of such payment again being recorded in the PP’s Custody
                       Account);

              9.2.3.   it is admitted that ED&F Man (1) knew that successful ED&F Man Applications
                       were being made to SKAT; and (2) understood that the Tax Vouchers were one of
                       a number of documents which were submitted by the PPs’ specialist tax reclaim
                       agents in support of the Tax Relief Forms; however (and again)

              9.2.4.   ED&F Man had no involvement in the completion and submission of the 420 Tax
                       Relief Forms by which the ED&F Man Applications were made.

      B3. The Alleged ED&F Man Representations

10.   As to paragraph 9 (the content of the Tax Vouchers):

      10.1.   it is admitted that each of the Tax Vouchers contained the text cited; further

      10.2.   Re-ADef/11.1 identifies the 11 information categories (and the information supplied
              pursuant to each) also set out in the Tax Vouchers; and

      10.3.   Re-ADef/11.2.2 notes that the 40 GP Tax Vouchers additionally stated that: (1) the
              Gibraltarian Partnership “held” the security identified therein “over the dividend date” for the
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              PP; and (2) the PP was the “beneficial owner” of the security. For the avoidance of doubt
              these references:

              10.3.1.   were intended only to communicate the fact that (in the tripartite relationship
                        between (1) ED&F Man; (2) the Gibraltarian Partnership; and (3) the PP) (a) it was
                        the Gibraltarian Partnership (ED&F Man’s client) who held the Security; whilst (b)
                        the PP was the beneficial (not legal) owner of the Security;

              10.3.2.   were not intended to and did not make any representation as to beneficial ownership
                        as a matter of Danish law or the relevant double tax treaty.

11.   As to paragraph 10 (alleged express representations):

      11.1.   it is admitted that each Tax Voucher contained the information set out at subparagraphs 10
              (a) (b) (c) and (d); however

      11.2.   it is denied that the Tax Vouchers contained any “express representations” by ED&F Man
              to SKAT: on the contrary each Tax Voucher (1) was addressed by ED&F Man to its client
              only and not to SKAT; and (2) was submitted to SKAT by or on behalf of the PP.

12.   As to paragraph 11 (alleged implied representations):

      12.1.   it is denied that the Tax Vouchers contained any “implied representations” by ED&F Man
              to SKAT: again the Tax Vouchers were addressed by ED&F Man to its client only and not
              to SKAT and were submitted to SKAT by or on behalf the PP; in any event

      12.2.   it is denied that the Tax Vouchers impliedly represented that the relevant PP “…was the
              beneficial owner of the specified number of shares in the named Danish company and the
              beneficial owner of the amount received by way of a dividend net of withholding tax…”
              (“the Beneficial Ownership Representation”) for the reasons alleged at subparagraphs 11
              (a) and (b) or at all. In particular:

      12.3.   the representations (if any) made by the Tax Vouchers fall to be construed in context and
              objectively according to their effect on a reasonable representee in the position and with the
              characteristics of the actual representee. Yet SKAT would (or should) have known that:

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    12.3.1.   ED&F Man: (1) provided custody services to its clients in relation to securities held
              in companies domiciled across multiple jurisdictions and subject to numerous
              different tax regimes; but (2) did not hold itself out as a tax adviser; and (3) was not
              qualified to advise on (a) the legal or beneficial ownership under Danish Law of
              securities (or dividends paid thereon) held in a Danish company; or (b) the relevant
              double taxation treaty; and

    12.3.2.   the Tax Voucher (1) was addressed by ED&F Man to its client only, and not to
              SKAT; and (2) (save for the GP Tax Vouchers considered above) did not address
              the question of the PP’s beneficial ownership of the security; by contrast

    12.3.3.   the Tax Relief Form, which was submitted by or on behalf of the PP: (1) was
              addressed to SKAT; (2) did contain the PP’s express declaration as to beneficial
              ownership (containing 6 references to “beneficial owner”); and (3) was to be
              stamped and signed by a “competent authority” certifying the PP as the beneficial
              owner covered by the double tax treaty; further

    12.3.4.   the concept of beneficial ownership was at the material time (and remains) legally
              uncertain in Danish law because: (1) historically Danish law did not distinguish
              between legal and beneficial ownership (a common law concept unfamiliar to
              Danish law); and (2) the Danish Supreme Court had not (and still has not)
              determined the meaning of the concept;

    12.3.5.   as the tax authority in Denmark with overall responsibility for processing WHT
              applications, SKAT was responsible for determining (1) the beneficial ownership of
              shares and dividends held in Danish companies for the purposes of Danish law
              and/or the double tax treaties; (2) the information and documentation necessary to
              establish beneficial ownership in accordance with the officialmaksime principle; and
              (in that context) (3) an applicant’s eligibility for a WHT claim (by reference to the
              four conditions of eligibility for a refund of WHT set out in section 69B(1) of the
              Danish Withholding Tax Act (the “WHT Act”) as further set out in Validity
              Defence/4); however




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        12.3.6.   at the material time (1) SKAT had not reached and/or published a clear and
                  consistent view as to the meaning of beneficial ownership for these purposes; with
                  the necessary result that (2) it was not possible for ED&F Man to make the
                  Beneficial Ownership Representation; in the premises:


12.4.   any representations as to beneficial ownership were made by (1) the entity described as the
        “beneficial owner” on the Tax Relief Form, on whose behalf the ED&F Man Applications
        were submitted; and/or (2) the tax reclaim agents which submitted the ED&F Man
        Applications;

12.5.   as this latest iteration of SKAT’s case as to the alleged express and implied representations
        made by the Tax Vouchers necessarily acknowledges, save for the GP Tax Vouchers the
        Tax Vouchers did not contain any text addressing the question of the PPs’ “beneficial
        ownership” of securities but consistent with the description and limited purpose of the
        document as a “Tax Voucher”:

        12.5.1.   stated only that the relevant PP was “…holding…” the identified security over the
                  dividend date, in respect of which an identified dividend had been received and
                  WHT “suffered”;

        12.5.2.   confirmed that ED&F Man was not itself the “beneficial owner” of the security;
                  but

        12.5.3.   did not and did not purport to engage with the question as to whether or not the PP
                  was the “beneficial owner” of the security (or dividend) for the purposes of Danish
                  law and/or the double tax treaty;

12.6.   as to the alleged implied representation that the Tax Voucher was “an honest and accurate
        statement of the facts set out in it” (subparagraph 11(c)):


        12.6.1.   it is admitted that by the Tax Voucher ED&F Man impliedly represented to its client
                  (the PP) (1) that the information set out in the Tax Voucher directly within ED&F
                  Man’s knowledge (as to the PP “holding” the Security) was accurate; and (2) that
                  ED&F Man reasonably and honestly believed that the information set out in the Tax

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                        Voucher not directly within ED&F Man’s knowledge (as to the payment of the
                        specified dividend net of WHT to the PP) was accurate; but (for the avoidance of
                        doubt)


              12.6.2.   ED&F Man did not make this or the alleged implied representation to SKAT (and
                        paragraph 12.1 above is repeated).

13.   In the premises the alleged “ED&F Man Representations” as defined at paragraph 12 (and in
      particular the alleged Beneficial Ownership Representation) are denied.

14.   As to paragraph 13, it is denied that “…a reasonable person in the position of SKAT would have
      understood…the ED&F Man Representations in the sense pleaded…”: paragraphs 11 and 12 above
      are repeated.

15.   As to paragraph 14 (alleged Beneficial Ownership Representation):

      15.1.   it is denied that there was any representation of “…beneficial ownership…”: paragraphs 11
              and 12 above are repeated; further


      15.2.   SKAT has now recently clarified (by Responses 1 and 2 of its February 2020 RFI
              Response) that it is its case that (1) the alleged Beneficial Ownership Representation was a
              representation as to beneficial ownership as a matter of Danish law; (2) essentially on the
              basis that (underlining supplied) “…the purpose for which the Tax Vouchers were produced
              by ED&F Man….was…to provide information to SKAT that the relevant PP was the
              beneficial owner of a dividend paid on Danish shares…”. This too is denied. Again (and as
              SKAT would or should have known):

              15.2.1.   the limited purpose of the Tax Vouchers (apparent on the face of the same) was to
                        state ED&F Man’s belief that (1) the relevant PP was “…holding…” the identified
                        security over the dividend date; and that in respect of that security (2) an identified
                        dividend had been received and WHT “suffered”;

              15.2.2.   the Tax Vouchers did not (and did not purport to) “…provide information to SKAT
                        that the relevant PP was the beneficial owner…” as a matter of Danish law or the


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                  relevant double tax treaty: save for the GP Tax Vouchers (considered above) the
                  Tax Vouchers were silent as to the question of the PPs’ beneficial ownership;

        15.2.3.   by contrast it was the purpose of the Tax Relief Form, completed by the tax
                  reclaim agent, and signed by or on behalf of the PP, to claim that the relevant PP
                  was the “beneficial owner”: the pro forma Tax Relief Form contained 6 references
                  to “beneficial owner” and concluded with a formal certification by the PP’s
                  “competent authority” in terms “…It is hereby certified that the beneficial owner
                  is covered by the Double Taxation Convention concluded between Denmark and
                  [relevant state]…”; however

        15.2.4.   ED&F Man played no part in the completion of the Tax Relief Form (and prior to
                  these proceedings had not seen a completed Tax Relief Form);

15.3.   it is not admitted that a reasonable person would have understood (and that SKAT in fact
        understood) the alleged Beneficial Ownership Representation “…in its ordinary and natural
        sense…” that “…the beneficial owner is the entity that benefits from the interest
        economically and has the power freely to determine the use to which it is put…”. In
        particular (albeit strictly without prejudice to the burden of proof):


        15.3.1.   SKAT now contends (by Responses 2.2, 4.1 and 4.2 of its February 2020 RFI
                  Response) that (1) the concept of beneficial ownership in Danish law at the
                  material time was not “legally uncertain”; but (2) had the “ordinary and natural”
                  meaning contended for at 5T/14 and as “set out” at paragraphs 44 and 45 of the
                  Validity Particulars; however

        15.3.2.   paragraphs 44, 45, 47 and 50 of the Validity Particulars (1) invoke (paragraph 44)
                  “…the concept of “beneficial owner” in the Double Tax Treaties…” as
                  “…derived from…” the OECD Model Convention (“the OECD Convention”)
                  and as explained in the commentary thereto (“the OECD Commentary”); (2)
                  identify (paragraph 45) 7 “…non-exhaustive factors relevant to decide whether a
                  WHT refund applicant was the beneficial owner of a dividend…” (“the 7 OECD
                  Factors”); and (3) cite (paragraph 47 and 50) 7 “…facts and matters…” in support


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                        of the claim that on a proper analysis the ED&F Man Applicants were “…not the
                        beneficial owners…” of the relevant dividends;

              15.3.3.   SKAT’s contention that, notwithstanding the Tax Vouchers’ silence as to the PPs’
                        “beneficial ownership”, the Tax Vouchers in fact contained the implied Beneficial
                        Ownership Representation (1) by reference to a complex evaluation of the
                        circumstances of the acquisition, disposition and economic benefit derived from
                        the PPs’ various trades; and (2) in the context of the Double Tax Treaties and 7
                        OECD Factors, is obviously unrealistic and unsustainable; and

      15.4.   no admissions are made as to the nature of SKAT’s alleged “understanding”: SKAT (1) is
              put to strict proof as to its understanding of “beneficial ownership” at the material time
              between January 2012 and May 2015; and (2) is required to identify and disclose the
              “…guidelines published on its website…” to which reference is made.

      B4. Alleged Negligent Misrepresentation

16.   Paragraph 15 (alleged liability for negligent misrepresentation) is denied. In particular:

      16.1.   it is denied that ED&F Man made the alleged express and/or implied representations:
              paragraphs 11, 12 and 15 above are repeated; in any event

      16.2.   it is denied (1) that ED&F Man owed a duty of care to SKAT; (2) that (with the exception
              of the Annex A and E Tax Vouchers) any representations made by the Tax Vouchers were
              inaccurate; (3) that ED&F Man was in breach of duty of care; and (4) that SKAT relied
              upon the alleged representations (a) in determining the PPs’ beneficial interest in the
              security as a matter of Danish law; and/or (b) in making the WHT payments, for the reasons
              set out below.

17.   Paragraph 16 (ED&F Man’s alleged duty of care to SKAT) is denied. In particular:

      17.1.   there was no contractual relationship between ED&F Man and SKAT (which was not ED&F
              Man’s client);

      17.2.   the Tax Vouchers were prepared for ED&F Man’s clients only and were not submitted by
              ED&F Man to SKAT;
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      17.3.   there were no written or oral communications at any material time between ED&F Man and
              SKAT in relation to the Tax Vouchers or otherwise;

      17.4.   by the Tax Vouchers, ED&F Man did not make any representations to SKAT; moreover

      17.5.   at the time of receipt of the Tax Vouchers, SKAT knew or ought to have known (in particular
              from the matters set out at subparagraph 12.3 above) that (1) ED&F Man was not assuming
              responsibility to SKAT for any (alleged) representations relating to the beneficial ownership
              of the securities or dividends described in the Tax Vouchers; (2) SKAT could not rely on such
              representations without independent inquiry.

18.   As to paragraph 17 (facts and matters in support of duty of care allegation) it is denied that the facts
      and matters set out in subparagraphs 17 (a) to (h) support the imposition of a duty of care. In
      particular:

      18.1.   as to subparagraph 17 (a) (production of the Tax Vouchers), ED&F Man produced the Tax
              Vouchers for its clients (the PPs), and the Tax Vouchers were only provided to SKAT by the
              four reclaim agents as part of the ED&F Man Applications;

      18.2.   as to subparagraph 17 (b) (reliance without further enquiry):

              18.2.1.   it is denied that ED&F Man “…intended and foresaw that SKAT would rely upon
                        the information set out in the Tax Vouchers, without further enquiry, in making
                        payments in response to the ED&F Man Applications…”; and it is denied that it was
                        “…reasonably foreseeable…” that SKAT would so rely. In particular (albeit strictly
                        without prejudice to the burden of proof):

              18.2.2.   it is denied that ED&F Man “…intended and foresaw…” that SKAT would make
                        payments in reliance upon the information contained in the Tax Vouchers: again it
                        was the Tax Relief Form which contained the repeated description “beneficial
                        owner” by or on behalf of the WHT applicant; further

              18.2.3.   as noted above, SKAT has now clarified, at Response 1 of SKAT’s February 2020
                        RFI Response, that it does allege that the alleged Beneficial Ownership



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                              Representation was a representation as to beneficial ownership as a matter of
                              Danish law; yet

                   18.2.4.    whilst the alleged Beneficial Ownership Representation is denied (for the reasons
                              set out at paragraph 12 above), it is denied in any event that ED&F Man intended
                              and/or foresaw that such an implied representation as to beneficial ownership as a
                              matter of Danish Law would be relied upon by SKAT “…without further
                              enquiry…”. On the contrary (1) ED&F Man did not (and did not purport to)
                              undertake the complex evaluation of the circumstances of the acquisition,
                              disposition and economic benefit derived from the PPs’ various trades (in the
                              context of the Double Tax Treaties and 7 OECD Factors) which SKAT now
                              claims to be essential to an analysis of beneficial ownership as a matter of Danish
                              law (“the Danish Law Beneficial Ownership Analysis”); (2) ED&F Man had no
                              intention and no knowledge that SKAT should not or would not undertake its own
                              “enquiry” in respect of the Danish Law Beneficial Ownership Analysis; and (3)
                              ED&F Man (a) never saw SKAT’s internal guidance note for the processing of
                              WHT applications (referred to at paragraph 45 of the fifteenth witness statement
                              of Andrew Herring (“Herring 15”)3) which according to Herring 15 was not
                              produced until “in around August 2015” (in respect of which date SKAT is put to
                              strict proof but which in any event was after the last of the 420 ED&F Man
                              Applications was allegedly made on 9 April 2015); and (b) did not know (and
                              could not have known) that SKAT’s “…general approach was to trust and pay out
                              on any WHT applications…” without any independent verification process of its
                              own; and


                   18.2.5.    it is denied that it was “reasonably foreseeable” that SKAT would rely upon the
                              information in the Tax Vouchers “without further enquiry”: on the contrary, in
                              accordance with the officialmaksime principle, SKAT was obliged (and entitled
                              pursuant to section 69B(2) of the WHT Act) to request such further documentation
                              and information as it required in order to determine the eligibility of an applicant
                              for a refund of WHT (as further set out in Validity Defence/4);


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18.3.   as to subparagraph 17 (c) (benefit), it is denied that the ED&F Man Applications made
        using the Tax Vouchers were “…principally for the benefit of ED&F Man…”:
        subparagraphs 6.1 and 8.1.3 above are repeated;

18.4.   as to subparagraph 17 (d) (alleged reliance):

        18.4.1.   it is not admitted that SKAT did rely upon the information set out in the Tax
                  Vouchers in making the payments sought and SKAT is put to strict proof as to (1)
                  the nature of SKAT’s evaluation of the ED&F Man Applications at the material
                  time; and (2) the weight (if any) placed by SKAT upon the information contained
                  in the Tax Vouchers in that evaluation;

        18.4.2.   it is not admitted that SKAT did not have “…the information necessary to enable
                  it to verify the information confirmed by ED&F Man in the Tax Vouchers…” and
                  SKAT is put to strict proof of the same. In any event, if SKAT did not have such
                  information it should, as the relevant tax authority with overall responsibility for
                  processing WHT applications, have taken proper steps to acquire such
                  information, in particular in circumstances where (1) each of the covering letters
                  sent by the reclaim agents when submitting the Tax Relief Forms offered to
                  provide “any further assistance”; (2) each of the Tax Vouchers concluded with the
                  offer “…If you have any further concerns or issues please do not hesitate to
                  contact us…”; (3) Section 1(2) of the Danish Tax Control Act gave SKAT the
                  power to request information from third parties for the purposes of assessing and
                  determining tax liability; (4) pursuant to section 69(B) of the WHT Act, SKAT
                  had the legal powers to require further information from a WHT applicant or its
                  agent when assessing an application; and (5) the officialmaksime principle obliged
                  SKAT to obtain the information and documentation required to determine the
                  eligibility of a WHT applicant (as set out in paragraph 18.2.5 above);

        18.4.3.   it is not admitted that “…it was SKAT’s practice not to subject the application to
                  any detailed due diligence…” and again SKAT is put to strict proof as to the
                  precise nature of “SKAT’s practice” and “due diligence” (such as it was) in
                  relation to the evaluation and determination of the ED&F Man Applications,
                  including in particular the importance attached to the Tax Relief Form itself;
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    18.4.4.   if (which is not admitted) SKAT did so rely, it is denied that SKAT’s reliance,
              apparently “…without further enquiry…” and without “…any detailed due
              diligence…” was reasonable. In particular:
              18.4.4.1. it was for SKAT, as the tax authority in Denmark with overall
                        responsibility for processing the ED&F Man Applications, to devise and
                        implement appropriate systems and procedures which ensured that such
                        applications were fairly and accurately reviewed and assessed;

              18.4.4.2. SKAT has now explained (at paragraphs 44, 45, 47 and 50 of the
                        Validity Particulars) the necessary Danish Law Beneficial Ownership
                        Analysis by reference to the 7 OECD Factors and Alleged Facts and
                        Matters;

              18.4.4.3. self-evidently, the Tax Vouchers contained no information in relation to
                        this Danish Law Beneficial Ownership Analysis and/or the 7 OECD
                        Factors including in particular: (1) whether the ED&F Man Applicant
                        had the power freely to decide how to dispose of the income said to
                        constitute a dividend; (2) whether the ED&F Man Applicant’s power to
                        use and enjoy the dividend was constrained by an obligation to pass on
                        the economic benefit of the amount received to another person; (3)
                        whether the ED&F Man Applicant was an agent or nominee or conduit
                        for the passing of the dividend; (4) whether the ED&F Man Applicant
                        received the dividend as part of a transaction between related parties that
                        was not arm’s length; (5) whether the ED&F Man Applicant was an
                        entity of commercial substance; (6) whether a holding company (or
                        other affiliated entity or individual) exercised a level of control over the
                        ED&F Man Applicant that was beyond the control and management that
                        one would normally expect; and (7) whether the ED&F Man Applicant
                        was set up for the sole or main purpose of obtaining the benefit(s) of a
                        double tax treaty; and

              18.4.4.4. in the premises, SKAT’s alleged reliance, “without further enquiry” or
                        “any detailed due diligence”, on the alleged Beneficial Ownership
                        Representation in a document which contained (1) no express statement
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                              as to the PPs’ beneficial ownership; (2) no information in relation to the
                              7 OECD Factors; (3) no Danish Law Beneficial Ownership Analysis;
                              and (4) none of the evidence of ownership required by SKAT in its
                              current 2020 website guidance entitled “Claiming refund of Danish
                              dividend tax” (such as a custody account statement, proof of trade,
                              receipt or SWIFT confirmation), was not reasonable; finally

                    18.4.4.5. ED&F Man relies upon the opinion of Rigsrevisionen (cited below) to
                              the effect that SKAT should have taken, but failed to take, elementary
                              steps to check the validity of the tax reclaim information which it
                              received;

18.5.   as to subparagraph 17 (e) (ED&F Man’s alleged knowledge re no detailed due diligence), it
        is denied that ED&F Man knew that SKAT’s practice “…was not to subject a withholding
        tax application to detailed due diligence…” for the reasons alleged or at all. On the
        contrary:

        18.5.1.     ED&F Man had no knowledge of the level of enquiry or due diligence to which
                    SKAT subjected the ED&F Man Applications and (as set out at subparagraph 18.4
                    above) SKAT is now required to give full and proper particulars of the same;

        18.5.2.     in any event (albeit strictly without prejudice to the burden of proof) ED&F Man
                    notes the claim (at paragraph 44.2 of the 15th witness statement of Andrew Herring
                    (dated 28 February 2020)) that the average time between request to SKAT and
                    payment between 2012 and 2015 for WHT Applications and ED&F Man
                    Applications made through Goal was 33 days: an average processing time of
                    nearly 5 weeks would have permitted checks to be performed by, or on behalf of,
                    SKAT;

18.6.   as to subparagraphs 17 (f) and (g) (alleged reasonable reliance), it is denied that SKAT’s
        reliance was reasonable for the reasons alleged or at all. In particular:

        18.6.1.     it is admitted (as alleged at subparagraph 17 (f)) that the purchase of shares by the
                    PPs was “…settled internally to ED&F Man in its books and records…” such that

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               ED&F Man was able to provide information as to “…the purchase of shares and
               receipt of dividends by an individual PP…”; and

    18.6.2.    it is admitted and averred (as alleged at subparagraph 17 (g)) that the Tax
               Vouchers summarised the cash and securities accounts held by ED&F Man on
               behalf of the relevant PP: however

    18.6.3.    no admissions are made as to the alleged inability of SKAT (subparagraphs 17 (f)
               and (g)) to verify this information in each Tax Voucher and ED&F Man notes
               (1) the opinion of Rigsrevisionen (the Danish national audit agency) at paragraphs
               31, 36 and 38 of its report) that:
                     “….Rigsrevisionen is of the opinion that SKAT has refunded the
                     dividend tax without checking the validity of the information received
                     by SKAT. SKAT has not established and written down the procedures
                     for checking the refund of dividend tax. Rigsrevisionen notes that the
                     absence of such business practices increases the risk of inadequate
                     handling and management…”;
              and:
                     “…The investigation carried out by SIR shows that SKAT’s IT support
                     for the dividend area is insufficient for implementing an effective basic
                     control based on the data recorded. A basic check includes checking
                     whether shareholder covered by the request of refund of dividend tax is
                     true and whether the dividend tax is included…SKAT’s IT support for
                     the refund of the dividend tax has been completely insufficient. This
                     means that the input data has not been controlled…”

               and (2) the conclusion of the National Audit Office of Denmark in its February
               2016 report that:
                     “…SKAT’s administration and the Ministry of Taxation’s supervision
                     of the refunds of dividend tax have been very unacceptable. SKAT’s
                     control of the payments of the refunds of dividend tax and the Ministry
                     of Taxation’s supervision of the are have been extremely inadequate…”

               and in particular that:
                     “…The refunds were made on a completely insufficient basis and SKAT
                     did not check completely basic information in the requests, for example
                     the ownership of the shares and whether the application's dividend tax
                     had been withheld…”

               in any event



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                   18.6.4.    in respect of the Danish Beneficial Ownership Analysis and the 7 OECD Factors:
                              (1) ED&F Man had no monopoly on information; and (2) on the contrary it was
                              for SKAT, as the tax authority in Denmark with overall responsibility for
                              processing all WHT reclaims, to identify and call for such information as it
                              required to undertake the necessary evaluation and analysis;

          18.7.    as to subparagraph 17 (h), it is denied that the conduct alleged (ED&F Man’s alleged failure
                   to verify the correctness of the information set out in the Tax Vouchers) is relevant to
                   whether ED&F Man owed SKAT a duty of care (as distinct from whether any such alleged
                   duty was breached). In any event, it is denied that ED&F Man “…failed to verify the
                   correctness of the information set out in the Tax Vouchers…” in the general manner alleged.
                   In fact:

                   18.7.1.    as disclosed in Annex A of ED&F Man’s original 14 December 2018 Defence, 9
                              of the 420 Tax Vouchers (the Annex A Vouchers) contained errors in a total value
                              of DKK312,120 (the sum of £37,579 as at that date4); and

                   18.7.2.    as disclosed in Annex E of ED&F Man’s 6 September 2019 Amended Defence
                              (following a detailed review of the 420 Tax Vouchers and the underlying
                              documents) a further 80 of the 420 Vouchers (the Annex E Tax Vouchers)
                              contained errors in the total value of DKK183,902,399 (the sum of £22,123,459 as
                              at that date5); however

                   18.7.3.    the balance of 331 Tax Vouchers (“the Disputed Tax Vouchers”) (1) were
                              accurate in that (a) ED&F Man was holding the Security (identified at entries 1, 2,
                              3 and 7 of the Tax Vouchers) on the Reference Date for the identified PP; (b)
                              ED&F Man reasonably and honestly believed that the PP had received the
                              dividend in respect of the Security (identified at entry 9) net of WHT (identified at
                              entry 10); and (2) were (a) based on “genuine business records” in relation to
                              “genuine transactions” (as conceded by SKAT: ADef/27.5.7); and (b) supported
                              by contemporaneous ED&F Man’s records (“the ED&F Man Records”)
                              including in particular:

4
    At the exchange rate of 1DKK: £0.1204 on 14 December 2018 (XE Currency historical data).
5
    At the exchange rate of 1DKK: £0.1203 on 6 September 2019 (XE Currency historical data).
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                       18.7.3.1. the Declaration as published by Bloomberg in respect of the security;

                       18.7.3.2. (1) the PP’s order (ordinarily by email instruction) for both (a) the
                                 security and (b) the Hedge; and (2) ED&F Man’s confirmation of the
                                 same (again by email);

                       18.7.3.3. a booking in ED&F Man’s trading software recording ED&F Man’s
                                 “Buy” of the Security and “Sell” or “Return” to the PP;

                       18.7.3.4. a SWIFT message confirming delivery of the Security to the Omnibus
                                 Account (and a daily SWIFT message confirming the retention of the
                                 Security therein);

                       18.7.3.5. entries in the PP’s Custody Account recording ED&F Man’s acquisition
                                 of the Security on the Trade Date; and

                       18.7.3.6. a journal entry in ED&F Man’s trading software identifying the nature,
                                 date and amount of a dividend payment credited to the PP in respect of
                                 the Security;

                       18.7.3.7. entries in the PP’s Custody Account recording: (1) the credit of the net
                                 dividend payment in respect of the Security; and (2) the credit of the tax
                                 reclaim to the PP a few weeks later;

      18.8.   in the premises it is denied, as alleged at subparagraph 17 (i), that ED&F Man assumed
              responsibility to SKAT for alleged representations made in the Tax Vouchers.

19.   As to paragraph 18 (alleged falsity of the ED&F Man Representations):

      19.1.   as to subparagraphs 18 (a) (b) (c) and (d) (the Annex E Tax Vouchers), it is admitted that
              ED&F Man admits that the Annex E Tax Vouchers were inaccurate: this information was
              volunteered by ED&F Man in the 6 September 2019 Amended Defence (and in particular in
              Annex E thereof) following a review which revealed that the relevant PPs had received a
              payment which was equivalent in value to a dividend net of 27% WHT (but not the
              identified net dividend itself); however
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19.2.   as to subparagraph 18(d) (and save in relation to the 7 GP Tax Vouchers submitted by or on
        behalf of Del Mar Asset Management Saving & Retirement Plan (“Del Mar”)) it is denied
        that even in respect of the inaccurate Annex E Tax Vouchers ED&F Man had “…falsely
        stated that the relevant PP was the beneficial owner of the specified shares…” and “…had
        received as beneficial owner a dividend net of withholding tax…”: they stated only that the
        PP “…was holding…” the security “…over the dividend date…” and made no statement
        (express or implied) about the PP as “beneficial owner”; and

19.3.   as to subparagraph 18 (e) (the Disputed Tax Vouchers):

        19.3.1.   it is denied (1) that the relevant PP “…did not hold…the specified shares…”
                  and/or (2) that ED&F Man did not reasonably and honestly believe that the PP
                  “…had not received any dividend net of WHT…”: on the contrary, the Disputed
                  Tax Vouchers were accurate: subparagraph 18.7.3 is repeated;

        19.3.2.   as to the different allegations that the relevant PP “…was not the beneficial owner
                  of the specified shares…” and had not received “…any dividend as beneficial
                  owner…” (1) the Disputed Tax Vouchers did not contain the alleged Beneficial
                  Ownership Representation: paragraph 12 above is repeated; in any event (2) the
                  allegation of falsity is not admitted and SKAT is put to strict proof thereof;

        19.3.3.   it is denied (1) (subparagraph 18 (e)(i)) that the PP held any interest in the security
                  or received any payment by way of dividend “…for the benefit of ED&F Man…”;
                  and/or (2) (subparagraph 18 (e)(ii) and (iii)) that ED&F Man was “…the beneficial
                  owner of any specified shares or dividend…” and/or “…the true principal of the
                  ED&F Man Applications…” for the reasons alleged or at all, in particular:

                  19.3.3.1. (as to subparagraph 18 (e) (ii) (A)) none of the PPs were a “mere
                            nominee recipient of the dividend”: they were independent pension
                            plans which (1) contracted with ED&F Man for its services on an arms-
                            length basis; (2) originated all trade instructions; (3) held the relevant
                            Security on the Reference Date (as recorded in their respective Custody
                            Account); (4) received and held the dividend in their respective Custody



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                                  Account; (5) used the dividend for their own benefit (by paying
                                  transaction costs); and (6) retained the balance of the dividend;

                        19.3.3.2. (as to subparagraph 18 (e) (ii) (B)) it is denied that PPs provided no
                                  funding for their transactions: subparagraph 5.4 is repeated;

                        19.3.3.3. (as to subparagraph 18 (e) (ii) (C)) it is denied that PPs did not bear any
                                  economic risk: moreover, whilst the PPs’ trades were designed, in
                                  particular through the Hedge (Re-ADef/10.4.1), to minimise economic
                                  risk hedging was a rationale commercial strategy in the context of the
                                  Dividend Arbitrage Strategy (which did not cause ED&F Man to
                                  become the beneficial owner as apparently alleged);

                        19.3.3.4. (as to subparagraph 18 (e) (ii) (D)) it is denied that the PPs had “…no
                                  control over the disposition of any shares purchased…”: at all material
                                  times (1) the PPs had ownership and retained control over the Security;
                                  and ED&F Man (2) held the Security on trust for the PPs in the Omnibus
                                  Account; and (3) recorded the PPs’ ownership of the Security in the
                                  Custody Accounts.

20.   Paragraph 19 (alleged breach) is denied. In particular:

      20.1.   as to subparagraph 19 (a) (the Annex E Tax Vouchers) (1) it is denied that ED&F Man
              owed a duty of care: paragraphs 17 and 18 above are repeated; (2) in the premises the
              alleged failure is denied; in any event (3) in the absence of any attempt to identify the “basic
              systems and control” relied upon, no admissions are made as to whether ED&F Man would
              not have made the misstatements but for the alleged failure to maintain the same;

      20.2.   as to subparagraph 19 (b) (ED&F Man’s knowledge of beneficial ownership):

              20.2.1.   it is denied that ED&F Man ought to have known that the “chain of transactions”
                        comprised in the alleged “ED&F Man Scheme” “…did not vest beneficial
                        ownership in the PPs…”: there was no “ED&F Man Scheme”, no “chain of
                        transactions” and no Beneficial Ownership Representation;


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    20.2.2.   it is denied (if alleged) (1) that ED&F Man was required to obtain legal advice in
              relation to a PP’s beneficial ownership of the Security (Re-A.Def/10.3) before
              preparing a Tax Voucher for the PP in respect of the Security; and (2) that it was
              negligent of ED&F Man not to do so: no Beneficial Ownership Representation
              was made in the Tax Vouchers such as to necessitate the taking of such advice (as
              to which subparagraphs 12.3 and 12.4 above are repeated);

    20.2.3.   further it is denied that “competent legal counsel”, given “full and proper
              instructions” with reference to the OECD Convention and Commentary would,
              “on the most cursory examination” have advised ED&F Man in the terms alleged.
              In particular (albeit strictly without prejudice to the burden of proof):

              20.2.3.1. the meaning of “beneficial ownership” in Danish law at the material
                        time was uncertain (subparagraph 12.3.4 above is repeated);

              20.2.3.2. SKAT had not provided any guidance as to the meaning of “beneficial
                        ownership” in Danish law (subparagraph 18.2.4 above is repeated);

              20.2.3.3. there is nothing “cursory” about the complex evaluation of the
                        circumstances of the acquisition, disposition and economic benefit
                        derived from the PPs’ various trades (in the context of the Double Tax
                        Treaties and 7 OECD Factors) which SKAT now claims to be essential
                        to the Danish Law Beneficial Ownership Analysis (subparagraphs 15.3
                        and 18.2 above are repeated); on the contrary

              20.2.3.4. the OECD Convention and Commentary (15 July 2014 Condensed
                        Version): (1) is a 496 page document; (2) complete with 31 Articles and
                        301 pages of commentary (including 20 pages on Article 10 entitled
                        “Dividends”); (3) which (obviously) did not address the Dividend
                        Arbitrage Strategy; but (4) (in the commentary on Article 10) provided
                        generic commentary on the “beneficial ownership” requirement
                        thereunder; and (5) communicated a view that “a conduit company”
                        “…cannot normally be regarded as beneficial owner…” if acting as



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                               “…a mere fiduciary or administrator on account of the interested
                               parties…”;

                  20.2.3.5. in the premises no “competent legal counsel” could or would have
                               concluded, whether on “the most cursory examination of the
                               commentary” or otherwise, that the PPs were not beneficial owners;

20.3.   as to subparagraph 19 (c) (alleged carelessness):
        20.3.1.   it is denied that any “ED&F Man Scheme” was “implemented” and/or that there
                  was the alleged Beneficial Ownership Representation;

        20.3.2.   whilst the letters to which reference is made are admitted, it is denied that there
                  was any “systemic carelessness” for the reasons alleged at subparagraphs 19 (c) (i)
                  to (iii) or at all; and

        20.3.3.   as to subparagraph 19 (c) (iv) it is denied that ED&F Man “…has refused to
                  provide an explanation as to why the Annex E Tax Vouchers were false…”. On the
                  contrary ED&F Man explained (1) in the Annex E narrative attached to the 6
                  September 2019 Amended Defence, that the information contained therein was
                  inaccurate because the PPs identified therein (a) had not “received” the amount set
                  out therein by way of dividend from the Danish Listed Company; and (b) had not
                  “suffered” WHT in the amount set out therein; and (2) in the Rosenblatt letter
                  dated 26 September 2019 in response to SKAT’s 12 September 2019 Part 18
                  request, that the PP only received a payment which was “…equivalent in value to
                  a dividend net of 27%, but which was not a dividend net of WHT which had been
                  paid by the Danish Listed Company…”;

20.4.   as to subparagraph 19 (d) (business division closure):

        20.4.1.   it is admitted that ED&F Man closed its Equity Finance Desk: ED&F Man took
                  these steps for commercial reasons and not in order “to rectify” any business
                  practices;




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              20.4.2.   it is denied that ED&F Man ended the employment of Mr Hawksworth in order “to
                        rectify” any business practices: Mr Hawksworth resigned after the closure of
                        ED&F Man’s Equity Finance Desk.

21.   In the premises, paragraph 20 (alleged loss and damage suffered) is denied.

22.   As to paragraph 21 (alleged reliance):

      22.1.   the ED&F Man Scheme and the alleged ED&F Man Representations are denied: paragraphs
              4 to 6 and 11 to 15 above are repeated;

      22.2.   it is not admitted that SKAT did rely upon the ED&F Man Representations: subparagraph
              18.4 above is repeated; and in any event

      22.3.   if (which is not admitted) SKAT did rely upon the ED&F Man Representations (and in
              particular the Beneficial Ownership Representation) it is denied that such reliance was
              reasonable: subparagraphs 18.4.4 and 18.6 are repeated; further

      22.4.   if (as SKAT alleges at subparagraph 18(e)(ii)) ED&F Man was the beneficial owner of the
              dividends, pursuant to Article 10(2)(b) of the Denmark-UK Double Tax Treaty the tax
              charged by SKAT was not to exceed 15% of the gross amount of those dividends: in the
              premises, SKAT’s loss is limited to 12% of that gross amount.

23.   Paragraph 22 (the confidential settlements) is not admitted and SKAT is required to provide a
      properly particularised schedule of loss which explains the basis upon which it alleges that (1) the
      compensation which it now seeks in respect of the ED&F Man Applications (in the sum of DKK
      574,607,39.643); (2) is DKK 8,223,323.48 less than the aggregate payments made by SKAT (in the
      total sum of DKK 582,830,719.91).

      B5. Danish Law claims

24.   Paragraph 23 (ED&F Man’s alleged false statements and alleged negligence) is denied: paragraphs
      11 to 15 and 19 and 20 above are repeated.

25.   Paragraph 24 (ED&F Man’s alleged failure to exercise required standard of care) is denied:
      paragraph 20 above is repeated.
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26.   As to paragraph 25 (ED&F Man’s receipt of fees and payments):

      26.1.   it is admitted (as set out in Re-A.Def/43) that ED&F Man received fees in respect of the
              ED&F Man Applications (the ED&F Man Fees); however

      26.2.   the ED&F Man Fees were not received as a result of SKAT’s mistaken payment of WHT
              refunds: Re-ADef/42 is repeated;


      26.3.   the receipt of the ED&F Man Fees was not unjust: Re-ADef/43.2 is repeated; and in any
              event

      26.4.   as a result of receiving the ED&F Man Fees, ED&F Man changed its position in good faith:
              Re-ADef/43.3 is repeated.

      Contributory negligence

27.   Further or alternatively, and as set out at Re-ADef/40-41, between 2012 and 2015 the systems and
      procedures in place at SKAT for managing the review and assessment of WHT reclaim applications
      were manifestly deficient in numerous respects such that:

      27.1.   SKAT’s own negligence was the only real and substantial cause of the losses claimed
              against ED&F Man and/or eclipsed any causative effect of ED&F Man’s alleged negligence
              (if proven); and/or

      27.2.   any damages payable to SKAT on account of ED&F Man’s alleged negligence ought to be
              reduced because SKAT’s contributory negligence caused or aggravated the alleged damage.




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                                                      Annex A – incorrect Tax Vouchers

     Schedule    Pension Plan                 Share and ISIN      Ex Date      Claimed        Claimed        Actual         Actual         Amount of
     1                                                                         shareholding   withheld       shareholding   withheld       overpayment
     reference                                                                                dividend tax                  dividend tax   by SKAT
                                                                                              (DKK)                         entitlement    (DKK)
                                                                                                                            (DKK)


1.     174       JSH FARMS LLC 401 (K) PLAN   Lundbeck A/S        22/03/2013      95,900        51,786.00       60,900       32,886.00       18,900.00
                                              DKK0010287234
2.     177                                    Lundbeck A/S                                                      60,100       32,454.00       18,360.00
                                                                                  94,100        50,814.00
                 KRH FARMS LLC 401 (K) PLAN   DKK0010287234       22/03/2013
3.     180                                    Lundbeck A/S                                                      54,200       29,268.00       15,120.00
                                                                                  82,200        44,388.00
                 MGH FARMS LLC 401 (K) PLAN   DKK0010287234       22/03/2013
4.     183       MSJJ RETIREMENT GROUP        Lundbeck A/S                                                      58,400       31,536.00       18,900.00
                                                                                  89,400        48,276.00
                 TRUST                        DKK0010287234       22/03/2013
5.     186                                    Lundbeck A/S                                                      62,150       33,561.00       16,740.00
                                                                                  97,150        52,461.00
                 SRH FARMS LLC 401 (K) PLAN   DKK0010287234       22/03/2013
6.     188       SV HOLDINGS, LLC             Lundbeck A/S                                                     326,800       176,472.00      49,140.00
                                                                                  417,800      225,612.00
                 RETIREMENT PLAN              DKK0010287234       22/03/2013
7.     191       TEW ENTERPRISES, LLC         Lundbeck A/S                                                     326,400       176,256.00      48,600.00
                                                                                  416,400      224,856.00
                 RETIREMENT PLAN              DKK0010287234       22/03/2013
8.     194                                    Lundbeck A/S                                                     223,300       120,582.00     106,380.00
                                                                                  420,300      226,962.00
                 TEW, LP RETIREMENT PLAN      DKK0010287234       22/03/2013
9.     198       TRITON FARMS LLC 401 (K)
                                              Lundbeck A/S                        101,250       54,675.00       64,250       34,695.00       19,980.00
                 PLAN                                             22/03/2013
                                              DKK0010287234
                                                                                                                               Total         312,120
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                                                 Annex B - further details in relation to ED&F Man clients

           Client name                  Agent           Jurisdiction      Date of on- Identity of Investment     No. of    Period of WHT    Total Value
                                                                        boarding as a        Manager             WHT        applications      of WHT
                                                                       client w/ ED&F                            apps                       applications
                                                                             Man                                                               DKK
1.  Acorn Capital Strategies      Acupay System         USA            10/08/2012     Zeta Financial Partners    5        22/04/2013 –     23,341,707.90
    LLC Employee Pension          LLC                                                 Limited                             28/04/2014
    Profit Sharing Plan & Trust
2. American Investment            Goal Taxback          USA            13/03/2012      Acer Investment Group     11       05/03/2014 –     21,060,000.00
    Group of New York, L.P.       Limited                                              LLC                                08/04/2015
    Pension Plan
3. Autoparts Pension Group        Global Equities       USA            22/02/2012      Arunvill Capital UK       29       20/03/2013 –     43,883,745.57
    Trust                         GmbH                                                 Limited                            09/04/2015
4. Bluegrass Investment           Global Equities       USA            22/02/2012      Arunvill Capital UK       23       07/09/2012 –     16,060,388.10
    Management, LLC               GmbH                                                 Limited                            22/05/2014
    Retirement Plan
5. Bluegrass Retirement           Global Equities       USA            22/02/2012      Arunvill Capital UK       23       20/03/2013 –     15,500,160.35
    Group Trust                   GmbH                                                 Limited                            22/05/2014
6. Cambridge Way LLC              Acupay System         USA            30/09/2013      Zeta Financial Partners   10       06/01/2014 –     36,912,580.20
    401K Profit Sharing Plan      LLC Correct                                          Limited                            09/06/2014
7. Casting Pensions Group         Global Equities       USA            22/02/2012      Arunvill Capital UK       30       20/03/2013 –     43,065,573.38
    Trust                         GmbH                                                 Limited                            09/04/2015
8. Central Technologies           Global Equities       USA            22/02/2012      Arunvill Capital UK       30       20/03/2013 –     39,596,415.51
    Pensions Group Trust          GmbH                                                 Limited                            09/04/2015
9. DW Construction, Inc.          Goal Taxback          USA            20/03/2012      Acer Investment Group     7        26/03/2014 –     13,603,950.00
    Retirement Place              Limited                                              LLC                                110/12/2014
10. Federated Logistics LLC       Goal Taxback          USA            24/02/2014      Duet Asset                6        04/04/2014 –     32,265,000.00
    401 (K) Plan                  Limited                                              Management Limited                 14/08/2014
11. GSA Trading (Canada)          Globe Tax Services    Canada         04/10/2014      GSFS Asset                8        18/06/2013 –     23,708,916.00
    Corporation Pension Plan      Incorporated                                         Management B.V.                    08/04/2015
                                  &
                                  Goal Taxback
                                  Limited
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           Client name                Agent       Jurisdiction      Date of on- Identity of Investment    No. of    Period of WHT    Total Value
                                                                  boarding as a        Manager            WHT        applications      of WHT
                                                                 client w/ ED&F                           apps                       applications
                                                                       Man                                                              DKK
12. Industrial Pensions Group   Global Equities   USA            22/02/2012     Arunvill Capital UK       29       20/03/2013 –     42,467,267.69
    Trust                       GmbH                                            Limited                            09/04/2015
13. JSH Farms LLC 401 (K)       Global Equities   USA            22/03/2012     Arunvill Capital UK       6        20/03/2013 –     2,342,582.32
    Plan                        GmbH                                            Limited                            15/04/2013
14. Kamco Investments. Inc      Goal Taxback      USA            20/03/2012     Acer Investment Group     6        26/03/2014 –     10,496,991.15
    Pension Plan                Limited                                         LLC                                08/04/2015
15. Kamco LP Profit Sharing     Goal Taxback      USA            20/03/2012     Acer Investment Group     5        26/03/2014 –     15,313,356.72
    Pension Plan                Limited                                         LLC                                14/08/2014
16. Koutroulakis & Co           Goal Taxback      Canada         24/05/2013     MOA Trading (Dubai)       2        26/03/2015       7,425,000.00
    Corporation Pension Plan    Limited                                         Limited
17. KRH Farms LLC 401 (k)       Global Equities   USA            22/03/2012     Arunvill Capital UK       6        20/03/2013 –     2,261,343.10
    Plan                        GmbH                                            Limited                            15/04/2013
18. Linden Associates Defined   Goal Taxback      USA            20/03/2012     Acer Investment Group     12       26/03/2014 –     13,168,507.50
    Benefit Plan                Limited                                         LLC                                26/03/2015
19. MGH Farms LLC 401 (k)       Global Equities   USA            22/03/2012     Arunvill Capital UK       6        20/03/2013 –     2,325,282.15
    Plan                        GmbH                                            Limited                            15/04/2013
20. Moira Associates LLC 401    Goal Taxback      USA            20/03/2012     Acer Investment Group     8        14/03/2014 –     16,989,750.00
    (k) Plan                    Limited                                         LLC                                10/12/2014
21. MSJJ Retirement Group       Global Equities   USA            20/03/2012     Arunvill Capital UK       6        20/03/2013 –     2,240,185.36
    Trust                       GmbH                                            Limited                            15/04/2013
22. New Song Fellowship         Goal Taxback      USA            27/03/2012     Acer Investment Group     4        26/03/2014 –     4,245,750.00
    Church 401 (k) Plan         Limited                                         LLC                                01/10/2014
23. Oranje Canada Corporation   Goal Taxback      Canada         18/10/2012     GSFS Asset                2        17/03/2015 –     5,865,975.99
    Pension Plan                Limited                                         Management B.V.                    08/04/2015
24. Riverside Associates        Goal Taxback      USA            20/03/2012     Acer Investment Group     11       26/03/2014 –     12,724,425.00
    Defined Benefit Plan        Limited                                         LLC                                26/03/2015
25. SRH Farms LLC 401 (k)       Global Equities   USA            22/03/2012     Arunvill Capital UK       6        20/03/2013 –     2,376,732.41
    Plan                        GmbH                                            Limited                            15/04/2013
26. Sterling Alpha LLC 401      Acupay System     USA            12/07/2012     Zeta Financial Partners   1        22/04/2013       6,415,200.00
    (k) Profit Sharing Plan     LLC                                             Limited
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           Client name                Agent         Jurisdiction       Date of on- Identity of Investment    No. of    Period of WHT    Total Value
                                                                     boarding as a        Manager            WHT        applications      of WHT
                                                                    client w/ ED&F                           apps                       applications
                                                                          Man                                                              DKK
27. SV Holdings, LLC            Global Equities     USA             22/02/2012     Arunvill Capital UK       24       07/09/2012 –     14,328,908.40
    Retirement Plan             GmbH                                               Limited                            30/05/2014
28. Tew Enterprises, LLC        Global Equities     USA             22/02/2012     Arunvill Capital UK       21       07/09/2012 –     15,258,872.83
    Retirement Plan             GmbH                                               Limited                            25/04/2014
29. Tew, LP Retirement Plan     Global Equities     USA             22/02/2012     Arunvill Capital UK       21       07/09/2012 –     15,488,992.99
                                GmbH                                               Limited                            25/04/2014
30. The Goldstein Law Group     Goal Taxback        USA             23/03/2012     Acer Investment Group     8        26/03/2014 –     9,521,280.00
    PC 401 (k) Profit Sharing   Limited                                            LLC                                26/03/2015
    Plan
31. Triton Farms LLC 401 (k)    Global Equities     USA             22/03/2012      Arunvill Capital UK      6        20/03/2013 –     2,338,133.28
    Plan                        GmbH                                                Limited                           15/04/2013
32. Tveter LLC Pension Plan     Goal Taxback        USA             10/02/2014      AlphaSource              8        16/04/2014 –     3,003,075.00
                                Limited                                                                               14/08/2014


                                                  Annex C – members of Gibraltarian Partnerships

Partner of Hamlyn LP
1.    Del Mar Asset           Goal Taxback         USA             19/03/2013       Duet Asset              10        08/05/2013 –     55,486,998.00
      Management Saving &     Limited                                               Management Limited                28/05/2014
      Retirement Plan
Partners of Cubix Managers Limited LLP
2.   5T Advisory Services       Goal Taxback       USA             08/02/2012       Ballance Advisors UK 10           08/02/2013 –     3,930,948.85
     Retirement Plan Trust      Limited                                             Limited                           08/05/2014
3.   KK Law Firm Retirement     Goal Taxback       USA             08/02/2012       Ballance Advisors UK 10           08/02/2013 –     3,524,349.53
     Plan Trust                 Limited                                             Limited                           08/05/2014
4.   Uplands Consulting         Goal Taxback       USA             08/02/2012       Ballance Advisors UK 10           08/02/2013 –     4,292,374.63
     Retirement Plan Trust      Limited                                             Limited                           08/05/2014
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                                  Annex E – incorrect Tax Vouchers (2)



1.   ED&F Man produced 80 Tax Vouchers as particularised in Schedule 1 (64 Tax Vouchers) and
     Schedule 2 (16 Tax Vouchers) to this Annex E (the Annex E Tax Vouchers).

2.   The information in the Annex E Tax Vouchers was inaccurate in that the PP identified therein:

     2.1.   had not “received” the amount set out therein by way of dividend from the Danish Listed
            Company; and

     2.2.   had not “suffered” WHT in the amount set out therein in relation to such dividend at the stated
            (27%) or any rate.

3.   Insofar as SKAT accepted or paid WHT reclaims in the sum of DKK183,902,400 or any sum in
     relation to the Relevant WHT Applications which included the Annex E Tax Vouchers, SKAT’s own
     negligence was the real and substantial cause of such payments and/or eclipsed any causative effect
     of ED&F Man’s negligence in relation to the Annex E Tax Vouchers (if proven). Paragraphs 40 and
     41 of the Amended Defence are repeated.




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                                           Annex E: Schedule 1 – incorrect Tax Vouchers

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      Schedule 1   Pension Plan                     Shareholding            Ex Date      Withheld         Withheld       Amount of
      reference                                                                          dividend tax     dividend tax   overpayment by
                                                                                         (DKK)            entitlement    SKAT (DKK)
                                                                                                          (DKK)

1.        505                                       500,000
                   DEL MAR ASSET MANAGEMENT         Coloplast A/S – B                                            -            945,000
                   SAVING & RETIREMENT PLAN                                 06/12/2013       945,000.00
2.        535      DEL MAR ASSET MANAGEMENT         7,850,000                                                    -           5,298,750
                   SAVING & RETIREMENT PLAN         Novozymes A/S - B       27/02/2014   5,298,750.00
3.        606      DEL MAR ASSET MANAGEMENT         24,000,000                                                   -           14,256,000
                   SAVING & RETIREMENT PLAN         TDC A/S                 07/03/2014   14,256,000.00
4.        629      DW CONSTRUCTION, INC.            3,300,000
                   RETIREMENT PLAN                  TDC A/S                 07/03/2014   1,960,200.00            -           1,960,200
5.        632      KAMCO INVESTMENTS, INC.          2,000,000                                                                1,188,000
                   PENSION PLAN                     TDC A/S                 07/03/2014   1,188,000.00            -
6.        634      LINDEN ASSOCIATES DEFINED        2,150,000                                                                1,277,100
                   BENEFIT PLAN                     TDC A/S                 07/03/2014   1,277,100.00            -
7.        637      NEWSONG FELLOWSHIP CHURCH        2,500,000                                                                1,485,000
                   401 (K) PLAN                     TDC A/S                 07/03/2014   1,485,000.00            -
8.        640      RIVERSIDE ASSOCIATES DEFINED     2,150,000                                                                1,277,100
                   BENEFIT PLAN                     TDC A/S                 07/03/2014   1,277,100.00            -
9.        646      THE GOLDSTEIN LAW GROUP PC       2,200,000                                                    -           1,306,800
                   401(K) PROFIT SHARING PLAN       TDC A/S                 07/03/2014   1,306,800.00
10.       659      CAMBRIDGE WAY LLC 401K           8,000,000                                                    -           4,752,000
                   PROFIT SHARING PLAN              TDC A/S                 07/03/2014   4,752,000.00
11.       698      AMERICAN INVESTMENT GROUP        3,500,000                                                    -           4,252,500
                   OF NEW YORK, L.P. PENSION PLAN   Novo Nordisk A/S - B    21/03/2014   4,252,500.00
12.       699      DEL MAR ASSET MANAGEMENT         2,600,000                                                    -           3,159,000
                   SAVING & RETIREMENT PLAN         Novo Nordisk A/S - B    21/03/2014   3,159,000.00

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A     B            C                              D                      E            F               G              H

      Schedule 1   Pension Plan                   Shareholding           Ex Date      Withheld        Withheld       Amount of
      reference                                                                       dividend tax    dividend tax   overpayment by
                                                                                      (DKK)           entitlement    SKAT (DKK)
                                                                                                      (DKK)

13.       700      DW CONSTRUCTION, INC.          2,000,000                                                  -           1,080,000
                   RETIREMENT PLAN                Danske Bank A/S        19/03/2014   1,080,000.00
14.       701      DW CONSTRUCTION, INC.          3,850,000
                   RETIREMENT PLAN                Novo Nordisk A/S - B   21/03/2014   4,677,750.00           -           4,677,750
15.       702      FEDERATED LOGISTICS LLC        16,500,000
                   401(K) PLAN                    Danske Bank A/S        19/03/2014   8,910,000.00           -           8,910,000
16.       703      FEDERATED LOGISTICS LLC        10,000,000
                   401(K) PLAN                    Novo Nordisk A/S - B   21/03/2014   12,150,000.00          -           12,150,000
17.       704      KAMCO INVESTMENTS, INC.        2,000,000
                   PENSION PLAN                   Danske Bank A/S        19/03/2014   1,080,000.00           -           1,080,000
18.       705      KAMCO INVESTMENTS, INC.        2,000,000
                   PENSION PLAN                   Novo Nordisk A/S - B   21/03/2014   2,430,000.00           -           2,430,000
19.       706      KAMCO LP PROFIT SHARING        7,375,000                                                              3,982,500
                   PENSION PLAN                   Danske Bank A/S        19/03/2014   3,982,500.00           -
20.       708      LINDEN ASSOCIATES DEFINED      2,000,000                                                              1,080,000
                   BENEFIT PLAN                   Danske Bank A/S        19/03/2014   1,080,000.00           -
21.       709      LINDEN ASSOCIATES DEFINED      2,000,000                                                              2,430,000
                   BENEFIT PLAN                   Novo Nordisk A/S - B   21/03/2014   2,430,000.00           -
22.       710      MOIRA ASSOCIATES LLC 401 (K)   2,000,000                                                              1,080,000
                   PLAN                           Danske Bank A/S        19/03/2014   1,080,000.00           -
23.       711      MOIRA ASSOCIATES LLC 401 (K)   3,150,000                                                              3,827,250
                   PLAN                           Novo Nordisk A/S - B   21/03/2014   3,827,250.00           -
24.       712      NEWSONG FELLOWSHIP CHURCH      2,000,000                                                              1,080,000
                   401 (K) PLAN                   Danske Bank A/S        19/03/2014   1,080,000.00           -
25.       713      RIVERSIDE ASSOCIATES DEFINED   2,000,000                                                              1,080,000
                   BENEFIT PLAN                   Danske Bank A/S        19/03/2014   1,080,000.00           -


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      Schedule 1   Pension Plan                   Shareholding                Ex Date      Withheld       Withheld       Amount of
      reference                                                                            dividend tax   dividend tax   overpayment by
                                                                                           (DKK)          entitlement    SKAT (DKK)
                                                                                                          (DKK)

26.       714      RIVERSIDE ASSOCIATES DEFINED   2,000,000                                                                  2,430,000
                   BENEFIT PLAN                   Novo Nordisk A/S - B        21/03/2014   2,430,000.00          -
27.       715      THE GOLDSTEIN LAW GROUP PC     2,000,000                                                                  1,080,000
                   401(K) PROFIT SHARING PLAN     Danske Bank A/S             19/03/2014   1,080,000.00          -
28.       716      THE GOLDSTEIN LAW GROUP PC     2,000,000                                                                  2,430,000
                   401(K) PROFIT SHARING PLAN     Novo Nordisk A/S - B        21/03/2014   2,430,000.00          -
29.       829      DEL MAR ASSET MANAGEMENT       350,000                                                                    2,551,500
                   SAVING & RETIREMENT PLAN       Tryg A/S                    04/04/2014   2,551,500.00          -
30.       830      DEL MAR ASSET MANAGEMENT       12,000                                                         -           4,536,000
                   SAVING & RETIREMENT PLAN       A.P. Møller Mærsk A/S - B   01/04/2014   4,536,000.00
31.       831      FEDERATED LOGISTICS LLC        300,000                                                        -           2,187,000
                   401(K) PLAN                    Tryg A/S                    04/04/2014   2,187,000.00
32.       832      FEDERATED LOGISTICS LLC        18,000                                                         -           6,804,000
                   401(K) PLAN                    A.P. Møller Mærsk A/S - B   01/04/2014   6,804,000.00
33.       843      DW CONSTRUCTION, INC.          5,000                                                          -           1,890,000
                   RETIREMENT PLAN                A.P. Møller Mærsk A/S - B   01/04/2014   1,890,000.00
34.       844      KAMCO LP PROFIT SHARING        5,000                                                          -           1,890,000
                   PENSION PLAN                   A.P. Møller Mærsk A/S - B   01/04/2014   1,890,000.00
35.       845      LINDEN ASSOCIATES DEFINED      175,000                                                        -           1,275,750
                   BENEFIT PLAN                   Tryg A/S                    04/04/2014   1,275,750.00
36.       846      MOIRA ASSOCIATES LLC 401 (K)   225,000                                                        -           1,640,250
                   PLAN                           Tryg A/S                    04/04/2014   1,640,250.00
37.       847      MOIRA ASSOCIATES LLC 401 (K)   5,000
                   PLAN                           A.P. Møller Mærsk A/S - B   01/04/2014   1,890,000.00          -           1,890,000
38.       848      NEWSONG FELLOWSHIP CHURCH      225,000
                   401 (K) PLAN                   Tryg A/S                    04/04/2014   1,640,250.00          -           1,640,250


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      Schedule 1   Pension Plan                   Shareholding                Ex Date      Withheld         Withheld       Amount of
      reference                                                                            dividend tax     dividend tax   overpayment by
                                                                                           (DKK)            entitlement    SKAT (DKK)
                                                                                                            (DKK)

39.       849      RIVERSIDE ASSOCIATES DEFINED   175,000
                   BENEFIT PLAN                   Tryg A/S                    04/04/2014   1,275,750.00            -           1,275,750
40.       850                                     1,000,000
                   TVETER LLC PENSION PLAN        TDC A/S                     07/03/2014       594,000.00          -           594,000
41.       851                                     390,000
                   TVETER LLC PENSION PLAN        Danske Bank A/S             19/03/2014       210,600.00          -           210,600
42.       852                                     225,000                                                                      273,375
                   TVETER LLC PENSION PLAN        Novo Nordisk A/S - B        21/03/2014       273,375.00          -
43.       853                                     800                                                                          302,400
                   TVETER LLC PENSION PLAN        A.P. Møller Mærsk A/S - B   01/04/2014       302,400.00          -
44.       854                                     100,000                                                                      729,000
                   TVETER LLC PENSION PLAN        Tryg A/S                    04/04/2014       729,000.00          -
45.       1092     ACORN CAPITAL STRATEGIES LLC
                   EMPLOYEE PENSION PROFIT        20,000                                                                       7,560,000
                   SHARING PLAN & TRUST           A.P. Møller Mærsk A/S - B   01/04/2014   7,560,000.00            -
46.       1093     CAMBRIDGE WAY LLC 401K         5,000,000                                                                    2,700,000
                   PROFIT SHARING PLAN            Danske Bank A/S             19/03/2014   2,700,000.00            -
47.       1094     CAMBRIDGE WAY LLC 401K         612,500                                                                      4,465,125
                   PROFIT SHARING PLAN            Tryg A/S                    04/04/2014   4,465,125.00            -
48.       1095     CAMBRIDGE WAY LLC 401K         20,000                                                                       7,560,000
                   PROFIT SHARING PLAN            A.P. Møller Mærsk A/S - B   01/04/2014   7,560,000.00            -
49.       1096     CAMBRIDGE WAY LLC 401K         2,000,000                                                                    2,430,000
                   PROFIT SHARING PLAN            Novo Nordisk A/S - B        21/03/2014   2,430,000.00            -
50.       1163                                    322,500
                   LINDEN ASSOCIATES DEFINED      Dampskibsselskabet Norden                                                    435,375
                   BENEFIT PLAN                   A/S                         24/04/2014       435,375.00          -


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      Schedule 1   Pension Plan                   Shareholding                Ex Date      Withheld         Withheld       Amount of
      reference                                                                            dividend tax     dividend tax   overpayment by
                                                                                           (DKK)            entitlement    SKAT (DKK)
                                                                                                            (DKK)

51.       1164                                    322,500
                   RIVERSIDE ASSOCIATES DEFINED   Dampskibsselskabet Norden                                                    435,375
                   BENEFIT PLAN                   A/S                         24/04/2014       435,375.00          -
52.       1165                                    215,000
                   THE GOLDSTEIN LAW GROUP PC     Dampskibsselskabet Norden                                                    290,250
                   401(K) PROFIT SHARING PLAN     A/S                         24/04/2014       290,250.00          -
53.       1166                                    240,000
                                                  Dampskibsselskabet Norden                                        -           324,000
                   TVETER LLC PENSION PLAN        A/S                         24/04/2014       324,000.00
54.       1391                                    425,000
                   CAMBRIDGE WAY LLC 401K         Dampskibsselskabet Norden                                        -           573,750
                   PROFIT SHARING PLAN            A/S                         24/04/2014       573,750.00
55.       1508     DEL MAR ASSET MANAGEMENT       3,000,000                                                        -           3,240,000
                   SAVING & RETIREMENT PLAN       Coloplast A/S - B           09/05/2014   3,240,000.00
56.       1510     DW CONSTRUCTION, INC.          1,300,000                                                        -           1,404,000
                   RETIREMENT PLAN                Coloplast A/S - B           09/05/2014   1,404,000.00
57.       1511     FEDERATED LOGISTICS LLC        1,300,000                                                        -           1,404,000
                   401(K) PLAN                    Coloplast A/S - B           09/05/2014   1,404,000.00
58.       1513     KAMCO INVESTMENTS, INC.        1,300,000                                                        -           1,404,000
                   PENSION PLAN                   Coloplast A/S - B           09/05/2014   1,404,000.00
59.       1520     LINDEN ASSOCIATES DEFINED      850,000                                                          -           918,000
                   BENEFIT PLAN                   Coloplast A/S - B           09/05/2014       918,000.00
60.       1525     RIVERSIDE ASSOCIATES DEFINED   850,000
                   BENEFIT PLAN                   Coloplast A/S - B           09/05/2014       918,000.00          -           918,000
61.       1537                                    115,000
                   TVETER LLC PENSION PLAN        Coloplast A/S - B           09/05/2014       124,200.00          -           124,200


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      Schedule 1   Pension Plan                     Shareholding         Ex Date      Withheld         Withheld       Amount of
      reference                                                                       dividend tax     dividend tax   overpayment by
                                                                                      (DKK)            entitlement    SKAT (DKK)
                                                                                                       (DKK)

62.       1583     CAMBRIDGE WAY LLC 401K           2,850,000
                   PROFIT SHARING PLAN              Coloplast A/S - B    09/05/2014   3,078,000.00            -            3,078,000
63.       1945     NEWSONG FELLOWSHIP CHURCH        50,000
                   401 (K) PLAN                     IC Group A/S         25/09/2014       40,500.00           -             40,500
64.       2064     AMERICAN INVESTMENT GROUP        750,000
                   OF NEW YORK, L.P. PENSION PLAN   Novozymes A/S - B    26/02/2015       607,500.00          -             607,500
                                                                                                            Total         161,586,900




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                                         Annex E: Schedule 2 – incorrect Tax Vouchers

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      Schedule 1   Pension Plan                     Shareholding        Ex Date      Withheld         Withheld        Amount of
      reference                                                                      dividend tax     dividend tax    overpayment by
                                                                                     (DKK)            entitlement     SKAT (DKK)
                                                                                                      (DKK)

1.        527      CAMBRIDGE WAY LLC 401K PROFIT    2,000,000                                             2,835,000       945,000
                                                                        06/12/2013   3,780,000.00
                   SHARING PLAN                     Coloplast A/S - B
2.        615      AMERICAN INVESTMENT GROUP OF     5,000,000                                             1,782,000       1,188,000
                                                                        07/03/2014   2,970,000.00
                   NEW YORK, L.P. PENSION PLAN      TDC A/S
3.        617      AUTOPARTS PENSIONS GROUP         3,705,000                                             1,525,037       675,734
                                                                        07/03/2014   2,200,771.00
                   TRUST                            TDC A/S
4.        620      BLUEGRASS INVESTMENT
                   MANAGEMENT, LLC RETIREMENT       4,248,000           07/03/2014   2,523,312.00         1,815,264       708,048
                   PLAN                             TDC A/S
5.        621      BLUEGRASS RETIREMENT GROUP       1,610,000
                                                                        07/03/2014       956,340.00       716,958         239,382
                   TRUST                            TDC A/S
6.        623                                       3,402,400
                                                                        07/03/2014   2,021,025.60         1,543,628       477,398
                   CASTING PENSIONS GROUP TRUST     TDC A/S
7.        624      CENTRAL TECHNOLOGIES PENSIONS    1,570,000
                                                                        07/03/2014       932,580.00       700,920         231,660
                   GROUP TRUST                      TDC A/S
8.        631      INDUSTRIAL PENSIONS GROUP        3,713,200
                                                                        07/03/2014   2,205,640.80         1,515,947       689,693
                   TRUST                            TDC A/S
9.        633      KAMCO LP PROFIT SHARING          5,000,000                                                             1,188,000
                                                                        07/03/2014   2,970,000.00         1,782,000
                   PENSION PLAN                     TDC A/S
10.       636      MOIRA ASSOCIATES LLC 401 (K)     6,000,000                                                             2,376,000
                                                                        07/03/2014   3,564,000.00         1,188,000
                   PLAN                             TDC A/S
11.       642      SV HOLDINGS, LLC RETIREMENT      3,073,200                                                             694,148
                                                                        07/03/2014   1,825,480.80         1,131,332
                   PLAN                             TDC A/S
12.       644      TEW ENTERPRISES, LLC             4,569,000                                                             673,596
                                                                        07/03/2014   2,713,986.00         2,040,390
                   RETIREMENT PLAN                  TDC A/S

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      Schedule 1   Pension Plan                     Shareholding           Ex Date      Withheld       Withheld        Amount of
      reference                                                                         dividend tax   dividend tax    overpayment by
                                                                                        (DKK)          entitlement     SKAT (DKK)
                                                                                                       (DKK)

13.       645                                       4,959,200                                                               956,340
                                                                           07/03/2014   2,945,764.80       1,989,425
                   TEW, LP RETIREMENT PLAN          TDC A/S
14.       658      CAMBRIDGE WAY LLC 401K PROFIT    7,900,000                                              877,500         4,455,000
                                                                           27/02/2014   5,332,500.00
                   SHARING PLAN                     Novozymes A/S - B
15.       697      AMERICAN INVESTMENT GROUP OF     7,750,000                                              1,620,000       2,565,000
                                                                           19/03/2014   4,185,000.00
                   NEW YORK, L.P. PENSION PLAN      Danske Bank A/S
16.       707      KAMCO LP PROFIT SHARING          4,400,000                                                              4,252,500
                                                                           21/03/2014   5,346,000.00       1,093,500
                   PENSION PLAN                     Novo Nordisk A/S - B
                                                                                                            Total          22,315,499




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               Amended by Order of The Honourable Mr Justice Teare dated 6 March
               2019 (as varied by Order of The Honourable Mrs Justice Cockerill dated
               20 May 2019)

               Re-Amended by Order of The Honourable Mr Justice Andrew Baker
               dated 18 January 2020

                                 Claim Nos.: CL-2018-000297; CL-2018-000404;
                                             CL-2018-000590; CL-2019-000487
               IN THE HIGH COURT OF JUSTICE
               BUSINESS AND PROPERTY COURTS OF ENGLAND AND WALES
               QUEEN’S BENCH DIVISION
               COMMERCIAL COURT

               B E T W E E N:

                             SKATSKATTEFORVALTNINGEN
                    (THE DANISH CUSTOMS AND TAX ADMINISTRATION)
                                                            Claimant
                                       - and -

                   ED&F MAN CAPITAL MARKETS LIMITED AND OTHERS
                                                          Defendants




                                       RE-AMENDED DEFENCE




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